                          Case 24-10703-CTG                Doc 598        Filed 11/01/24         Page 1 of 79




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                          Chapter 11

             SEAPLANE DEBTOR 1, INC., et al.,1                               Case No. 24-10703 (CTG)

                                       Debtors.                              (Jointly Administered)

                          DEBTORS’ MEMORANDUM OF LAW IN SUPPORT
                          OF APPROVAL OF THE DISCLOSURE STATEMENT
                     ON A FINAL BASIS AND CONFIRMATION OF THE FOURTH
                AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION FOR SEAPLANE
              DEBTOR 1, INC. (F/K/A ICON AIRCRAFT, INC.) AND ITS DEBTOR AFFILIATES
             AND OMNIBUS REPLY TO OBJECTIONS TO CONFIRMATION AND 9019 MOTION

         YOUNG CONAWAY                                                     SIDLEY AUSTIN LLP
         STARGATT & TAYLOR, LLP                                            Samuel A. Newman (admitted pro hac vice)
         Sean M. Beach (No. 4070)                                          1999 Avenue of the Stars, Floor 19
         Ashley E. Jacobs (No. 5635)                                       Los Angeles, California 90067
         S. Alexander Faris (No. 6278)                                     Telephone: (310) 595-9500
         Jared W. Kochenash (No. 6557)                                     Facsimile: (310) 595-9501
         Rodney Square
         1000 North King Street                                            and
         Wilmington, Delaware 19801
         Telephone: (302) 571-6600                                         Jeri Leigh Miller (admitted pro hac vice)
         Facsimile: (302) 571-1253                                         2021 McKinney Avenue, Suite 2000
                                                                           Dallas, Texas 75201
                                                                           Telephone: (214) 981-3300
                                                                           Facsimile: (213) 981-3400
         Dated: November 1, 2024
                                                                           and

                                                                           Nathan Elner (admitted pro hac vice)
                                                                           787 Seventh Avenue
                                                                           New York, New York 10019
                                                                           Telephone: (212) 839-5300
                                                                           Facsimile: (212) 839-5599

                                         Counsel for Debtors and Debtors in Possession

         1
               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.) (7443); Seaplane Debtor 2, Inc. (f/k/a IC
               Technologies Inc.) (7918); Seaplane Debtor 3, LLC (f/k/a ICON Flying Club, LLC) (6101); and Seaplane Debtor
               4, LLC (f/k/a Rycon LLC) (5297). The Debtors’ service address is c/o Armanino LLP, 231 Market Place, Suite
               373, San Ramon, CA 94583-4743, Attn: Thomas McCabe, Chief Restructuring Officer.
32341934.1
                             Case 24-10703-CTG                      Doc 598           Filed 11/01/24              Page 2 of 79




                                                                    Table of Contents

         Preliminary Statement..................................................................................................................... 1
         Argument ........................................................................................................................................ 2
         Case Background and Objections ................................................................................................... 3
                    A. Procedural History ........................................................................................................ 3
                    B. Settlements with the Derivative Litigation Plaintiffs.................................................... 7
                    C. Plan Solicitation and Notification Process .................................................................... 9
                    D. Confirmation Objections ............................................................................................. 11
         The Disclosure Statement Should Be Approved on a Final Basis ................................................ 12
         The Plan Satisfies the Requirements of Section 1129 of the Bankruptcy Code ........................... 15
                    A. The Plan Complies with Section 1129(a)(1) of the Bankruptcy Code ....................... 15
                            1. The Plan Properly Classifies Creditor’s Claims Under Section 1122 of the
                               Bankruptcy Code ............................................................................................... 15
                            2. The Plan Satisfies the Mandatory Plan Requirements of Section 1123(a) of
                               the Bankruptcy Code.......................................................................................... 18
                            3. The Plan Complies with the Discretionary Provisions of Section 1123(b) of
                               the Bankruptcy Code.......................................................................................... 21
                    B. The Plan Complies with Section 1123(d) of the Bankruptcy Code ............................ 34
                    C. The Plan Complies with Section 1129(a)(2) of the Bankruptcy Code ....................... 34
                            1. The Debtors Complied with Section 1125 of the Bankruptcy Code ................. 35
                            2. The Debtors Complied with Section 1126 of the Bankruptcy Code ................. 36
                    D. The Plan Was Proposed in Good Faith and Therefore Complies with Section
                    1129(a)(3) of the Bankruptcy Code .................................................................................. 37
                    E. The Plan Provides that the Payment of Debtors’ Professional Fees and Expenses
                    Are Subject to Court Order in Compliance with Section 1129(a)(4) ............................... 38
                    F. The Plan Does Not Require Additional Disclosures Regarding Directors,
                    Officers, or Insiders and Therefore Complies with Section 1129(a)(5) ........................... 39
                    G. The Plan Does Not Require Governmental Regulatory Approval and Therefore
                    Complies with Section 1129(a)(6) .................................................................................... 39
                    H. The Plan Is in the Best Interest of Creditors and Therefore Complies with Section
                    1129(a)(7) ......................................................................................................................... 40
                    I. The Plan Is Confirmable Notwithstanding the Requirements of Section
                    1129(a)(8) of the Bankruptcy Code .................................................................................. 42
                    J. The Plan Provides for Payment in Full of All Allowed Priority Claims in
                    Compliance with Section 1129(a)(9) of the Bankruptcy Code ......................................... 42
                    K. At Least One Class of Impaired, Non-Insider Claims Accepted the Plan in
                    Compliance with Section 1129(a)(10) of the Bankruptcy Code ....................................... 44
32341934.1
                                                                                  i
                          Case 24-10703-CTG                       Doc 598            Filed 11/01/24              Page 3 of 79




                  L. The Plan Is Feasible in Compliance with Section 1129(a)(11) of the Bankruptcy
                  Code .................................................................................................................................. 44
                  M. All Statutory Fees Have or Will Be Paid in Compliance with Section 1129(a)(12) .. 47
                  N. The Debtors Have No Retiree Benefit Obligations (Section 1129(a)(13))................. 47
                  O. Sections 1129(a)(14), (a)(15) and (a)(16) Do Not Apply to the Plan ......................... 47
                  P. The Plan Satisfies the “Cram Down” Requirements of Section 1129(b) of the
                  Bankruptcy Code .............................................................................................................. 48
                          1. The Plan is Fair and Equitable and Thus Satisfies Section 1129(b)(2)(B) of
                             the Bankruptcy Code.......................................................................................... 49
                          2. The Plan Does Not Unfairly Discriminate with Respect to the Impaired
                             Classes that Have Not Voted to Accept the Plan in Accordance with
                             Section 1129(b)(1) of the Bankruptcy Code ...................................................... 50
                  Q. The Debtors Complied with Sections 1129(d) and (e) of the Bankruptcy Code ........ 51
                  R. Modifications to the Plan ............................................................................................ 51
                  S. Good Cause Exists to Waive the Stay of the Proposed Confirmation Order.............. 53
         The Objections to the Plan Should Be Overruled ......................................................................... 54
                  A. The U.S. Trustee’s Objection Should Be Overruled................................................... 54
                          1. The Third-Party Releases Are Appropriate and Lawful. ................................... 54
                          2. The Injunction Provision is Appropriate and Integral to the Plan. .................... 59
                          3. The Debtors Will Not Receive a Discharge. ...................................................... 60
                  B. PDSTI’s Objection Should Be Overruled. .................................................................. 60
                          1. The Debtors’ Settlement with the Derivative Litigation Plaintiffs is in the
                             Best Interests of Creditors and the Estates. ........................................................ 61
                          2. The Plan Complies with Sections 1129(a)(1), 1121(a), and 1123(a)(4) of
                             the Bankruptcy Code.......................................................................................... 64
                  C. The Debtors Are Working to Consensually Resolve the WF Objection. ................... 67
                  D. The Debtors Are Reviewing the SGIA Objection. ..................................................... 67




32341934.1
                                                                                ii
                           Case 24-10703-CTG                    Doc 598           Filed 11/01/24           Page 4 of 79




                                                       TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

         Cases

         Aro Mfg. Co. v. Convertible Top Replacement Co.,
            377 U.S. 476 (1964) ................................................................................................................30

         Bank of Am. Nat. Trust & Sav. Ass’n v. 203 N. LaSalle St. P’ship,
            526 U.S. 434 (1999) ...........................................................................................................40, 49

         Beal Bank, S.S.B. v. Jack’s Marine, Inc. (In re Beal Bank, S.S.B.),
            201 B.R. 376 (E.D. Pa. 1996) ............................................................................................52, 64

         Boston Post Road Ltd. P’ship v. F.D.I.C. (In re Boston Post Road Ltd. P’ship),
            21 F.3d 477 (2nd Cir. 1994).....................................................................................................16

         Century Glove, Inc. v. First Am. Bank of N.Y.,
            860 F.2d 94 (3d Cir. 1988) ......................................................................................................13

         Cosoff v. Rodman (In re W.T. Grant Co.),
            699 F.2d 599 (2d Cir. 1983).....................................................................................................23

         Fin. Sec. Assurance Inc. v. T-H New Orleans Ltd. P’ship (In re T-H New Orleans
            Ltd. P’ship),
            116 F.3d 790 (5th Cir. 1997) ...................................................................................................37

         First Am. Bank of N.Y. v. Century Glove, Inc.,
             81 B.R. 274 (D. Del. 1988) .....................................................................................................13

         Harrington v. Purdue Pharma, L.P., et al. (In re Purdue Pharma L.P.),
            144 S. Ct. 2071 (2024) ......................................................................................................29, 55

         In re 203 N. LaSalle St. Ltd. P’ship.,
             190 B.R. 567 (Bankr. N.D. Ill. 1995) ......................................................................................50

         In re Abeinsa Holding, Inc.,
             562 B.R. 265 (Bankr. D. Del. 2016) ........................................................................................25

         In re Adelphia Communications Corp.,
             368 B.R. 140 (Bankr. S.D.N.Y. 2007) ...............................................................................16, 40

         In re Aleris Int’l, Inc.,
             2010 WL 3492664 (Bankr. D. Del. May 13, 2010) .................................................................34



32341934.1
                                                                            iii
                           Case 24-10703-CTG                   Doc 598         Filed 11/01/24            Page 5 of 79




         In re Am. Cap. Equip., LLC,
             688 F.3d 145 (3d Cir. 2012).....................................................................................................45

         In re Ambanc La Mesa L.P.,
             115 F.3d 650 (9th Cir. 1997) .............................................................................................48, 50

         In re Armstrong World Indus., Inc.,
             348 B.R. 111 (D. Del. 2006) ..............................................................................................15, 16

         In re Arsenal Intermediate Holdings, LLC,
             No. 23-10097 (CTG), 2023 WL 2655592 (Bankr. D. Del. Mar. 27, 2023) .............................56

         In re Aztec Co.,
             107 B.R. 585 (Bankr. M.D. Tenn. 1989) ................................................................................50

         In re Barakat,
             99 F.3d 1520 (9th Cir. 1996) ...................................................................................................16

         In re Blackhawk Mining LLC,
             No. 19-11595 (LSS) (Bankr. D. Del. Aug. 29, 2019) ........................................................28, 29

         In re BowFlex Inc.,
             No. 24-12364 (ABA) (Bankr. D.N.J. Aug. 19, 2024) [Docket No. 614] ...................57, 58, 59

         In re Burns & Roe Enters., Inc., No. 08-4191 (GEB),
             2009 WL 438694 (D. N.J. Feb. 23, 2009) .........................................................................52, 64

         In re Capmark Fin. Grp. Inc.,
             No. 09-13684 (CSS), 2011 WL 6013718 (Bankr. D. Del. Oct. 5, 2011) ................................45

         In re Casa Systems, Inc.,
             No. 24-10695 (KBO) (Bankr. D. Del. June 6, 2024) [Docket No. 421] .................................60

         In re Century Glove, Inc.,
             Civ. A. Nos. 90-400 and 90-401, 1993 WL 239489 (D. Del. Feb. 10, 1993) ...................37, 40

         In re Chapel Gate Apartments, Ltd.,
             64 B.R. 569 (Bankr. N.D. Tex. 1986) ......................................................................................38

         In re Checkout Holding Corp.,
             No. 18-12794 (KG) (Bankr. D. Del. Jan. 31, 2019) ..........................................................28, 29

         In re Coram Healthcare Corp.,
             315 B.R. 321 (Bankr. D. Del. 2004) ..................................................................................23, 50

         In re Dex One Corp.,
             No. 13-10533 (KG) (Bankr. D. Del. Apr. 29, 2013)................................................................53


32341934.1
                                                                          iv
                           Case 24-10703-CTG                   Doc 598         Filed 11/01/24            Page 6 of 79




         In re: ECE Wind-down LLC,
             No. 22-10320 (JTD) (Dec. 21, 2022) Dkt. No. 520 ...........................................................16, 65

         In re Enron Corp.,
             326 B.R. 497 (S.D.N.Y. 2005).................................................................................................31

         In re Exaeris, Inc.,
             380 B.R. 741 (Bankr. D. Del. 2008) ........................................................................................23

         In re FAH Liquidating Corp.,
             No. 13-13087 (KG) (Bankr. D. Del. July 28, 2014) ................................................................31

         In re Federal–Mogul Global Inc.,
             2007 Bankr. LEXIS 3940 (Bankr. D. Del. 2007) ..............................................................52, 64

         In re Finlay Enters., Inc.,
             No. 09-14873 JMP, 2010 WL 6580628 (Bankr. S.D.N.Y. June 29, 2010) .............................46

         In re Fisker Inc.,
             No. 24-11390 (TMH) (Bankr. D. Del. Octo. 16, 2024) [Docket No. 722] .................57, 58, 59

         In re Flintkote Co.,
             486 B.R. 99 (Bankr. D. Del. 2012) ..........................................................................................45

         In re Freymiller Trucking, Inc.,
             190 B.R. 913 (Bankr. W.D. Okla. 1996) .................................................................................50

         In re Future Energy Corp.,
             83 B.R. 470 (Bankr. S.D. Ohio 1988)......................................................................................38

         In re Gatehouse Media, Inc.,
             No. 13-12503 (MFW) (Bankr. D. Del. Nov. 6, 2013) .............................................................53

         In re Genesis Health Ventures, Inc.,
             266 B.R. 591 (Bankr. D. Del. 2001) ........................................................................................15

         In re Geokinetics Inc.,
             No. 13-10472 (KJC) (Bankr. D. Del. Apr. 25, 2013) ..............................................................53

         In re Global Safety Textiles Holdings LLC,
             No. 09-12234 (KG), 2009 WL 6825278 (Bankr. D. Del. Nov. 30, 2009) .........................52, 64

         In re GSE Envtl., Inc.,
             No. 13-11126 (MFW) (Bankr. D. Del. July 25, 2014) ............................................................53

         In re Heritage Highgate, Inc.,
             679 F.3d 132 (3d Cir. 2012).....................................................................................................45


32341934.1
                                                                           v
                          Case 24-10703-CTG                  Doc 598          Filed 11/01/24           Page 7 of 79




         In re Heritage Org., L.L.C.,
             375 B.R. 230 (Bankr. N.D. Tex. Aug. 31, 2007) .....................................................................46

         In re Horsehead Holding Corp.,
             No. 16-10287 (CSS) (Bankr. D. Del. Sep. 9, 2016) ...............................................................29

         In re Hyatt,
             509 B.R. 707 (Bankr. D.N.M. 2014) .......................................................................................16

         In re Indianapolis Downs, LLC,
             486 B.R. 286 (Bankr. D. Del. 2013) ......................................................................24, 25, 29, 54

         In re Insys Therapeutics, Inc., et al.,
             No. 19-11292 (KG) (Bankr. D. Del. Dec. 4, 2019) ...........................................................16, 65

         In re Integrated Resources, Inc.,
             147 B.R. 650 (S.D.N.Y. 1992) ................................................................................................34

         In re Invitae,
             No. 24-11363 (MBK) (Bankr. D.N.J. Aug. 2, 2024) ..............................................................29

         In re Jersey City Med. Ctr.,
             817 F.2d 1055 (3d Cir. 1987).............................................................................................16, 65

         In re Joann Inc.,
             No. 24-10418 (CTG) (Bankr. D. Del. Apr. 25, 2024) [Docket No. 303] ...............................59

         In re Johns-Manville Corp.,
             68 B.R. 618 (Bankr. S.D.N.Y. 1986) .......................................................................................50

         In re Kreider,
             No. 05-15018 (ELF), 2006 WL 3068834 (Bankr. E.D. Pa. Sept. 27, 2006) ...........................45

         In re Laboratory Partners, Inc.,
             No. 13-12769 (PJW) (Bankr. D. Del. July 10, 2014) ..............................................................31

         In re Lapworth,
             1998 WL 767456 (DWS) (Bankr. E.D. Pa. Nov. 2, 1998) ......................................................34

         In re Lason, Inc.,
             300 B.R. 227 (Bankr. D. Del. 2003) ........................................................................................41

         In re Lernout & Hauspie Speech Prods., N.V.,
             301 B.R. 651 (Bankr. D. Del. 2003) ........................................................................................50

         In re Lisanti Foods, Inc.,
             329 B.R. 491 (D.N.J. 2005) ..............................................................................................13, 38


32341934.1
                                                                         vi
                           Case 24-10703-CTG                   Doc 598          Filed 11/01/24           Page 8 of 79




         In re Mallinckrodt PLC,
             639 B.R. 837 (Bankr. D. Del. 2022) ............................................................................16, 29, 65

         In re Masten Space Systems, Inc.,
             No. 22-10657 (BLS) (Nov. 9, 2022) ..................................................................................16, 65

         In re Master Mortg. Inv. Fund, Inc.,
             168 B.R. 930 (Bankr. W.D. Mo. 1994)....................................................................................24

         In re Metrocraft Pub. Serv., Inc.,
             39 B.R. 567 (Bankr. N.D. Ga. 1984) ......................................................................................14

         In re Millennium Lab Holdings II, LLC.,
             945 F.3d 126 (3d Cir. 2019) ....................................................................................................29

         In re Monnier Bros.,
             755 F.2d 1336 (8th Cir. 1985) .................................................................................................13

         In re NanoString Technologies, Inc.,
             No. 24-10160 (CTG) (Bankr. D. Del. June 18, 2024) [Docket No. 659] .........................58, 59

         In re NII Holdings, Inc.,
             288 B.R. 356 (Bankr. D. Del. 2002) ........................................................................................37

         In re Nutritional Sourcing Corp.,
             398 B.R. 816 (Bankr. D. Del. 2008) ........................................................................................15

         In re One Aviation Corp.,
             No. 18-12309 (CSS) (Bankr. D. Del. Sep. 18, 2019) ........................................................28, 29

         In re PC Liquidation Corp.,
             383 B.R. 856 (E.D.N.Y. 2008) ................................................................................................13

         In re PBS Brand Co., LLC,
             No. 20-13157 (JKS) (Bankr. D. Del. Apr. 28, 20231) [Docket 552] ......................................65

         In re Phoenix Petroleum, Co.,
             278 B.R. 385 (Bankr. E.D. Pa. 2001) ...............................................................................13, 14

         In re Physiotherapy Holdings, Inc.,
             No. 13-12965 (KG) (Bankr. D. Del. Dec. 23, 2013) ...............................................................53

         In re Premier Int’l Holdings, Inc.,
             2010 WL 2745964 (CSS) (Bankr. D. Del. Apr. 29, 2010) ......................................................32

         In re Prime Core Techs., Inc.,
             No. 23-11161 (JKS) (Bankr. D. Del. Dec. 21, 2023) [Docket No. 644] ................................65


32341934.1
                                                                          vii
                           Case 24-10703-CTG                   Doc 598          Filed 11/01/24           Page 9 of 79




         In re Prussia Assocs.,
             322 B.R. 572 (Bankr. E.D. Pa. 2005) ......................................................................................45

         In re PWS Holding Corp.,
             228 F.3d 224 (3d Cir. 2000)...............................................................................................32, 37

         In re River Village Assoc.,
             181 B.R. 795 (E.D. Pa. 1995) .................................................................................................13

         In re S&W Enter.,
             37 B.R. 153 (Bankr. N.D. Ill. 1984) ........................................................................................15

         In re Samson Resources Corp.,
             No. 14-11934 (CSS) (Bankr. D.Del. Feb. 13, 2017) .........................................................28, 29

         In re Scioto Valley Mortg. Co.,
             88 B.R. 168 (Bankr. S.D. Ohio 1988) .....................................................................................14

         In re Sea Garden Motel & Apartments,
             195 B.R. 294 (D. N.J. 1996) ....................................................................................................45

         In re SL Liquidation LLC,
             No. 23-10207 (TMH) (Bankr. D. Del. Nov. 22, 2023) [Docket No. 713] ..............................65

         In re Smallhold, Inc.,
             No. 24-10267 (CTG) (Bankr. D. Del. Sept. 25, 2024) [Docket No. 288] ...................... passim

         In re Source Home Entm’t, LLC,
             No. 14-11553 (KG) (Bankr. D. Del, Feb. 20, 2015) ................................................................53

         In re Spansion, Inc.
             2010 WL 2905001 (Bankr. D. Del. April 16, 2010) ................................................................32

         In re Spansion, Inc.,
             426 B.R. 114 (Bankr. D. Del. 2010) ............................................................................23, 29, 54

         In re TK Holdings Inc.,
             No. 17-11375 (BLS) (Bankr. D. Del. Feb. 21, 2018) ........................................................28, 29

         In re Tribune Co.,
             464 B.R. 126 (Bankr. D. Del. 2011) ........................................................................................45

         In re Tricida, Inc.,
             No. 23-10024 (JTD) (Bankr. D. Del. May, 23, 2023) [Docket No. 515] ...................58, 59, 60

         In re Unichem Corp.,
             72 B.R. 95 (Bankr. N.D. Ill. 1987) .........................................................................................13


32341934.1
                                                                         viii
                          Case 24-10703-CTG                    Doc 598           Filed 11/01/24           Page 10 of 79




         In re U.S. Brass Corp.,
             194 B.R. 420 (Bankr. E.D. Tex. 1996) ...................................................................................14

         In re U.S. Truck Co.,
             47 B.R. 932 (E.D. Mich. 1985) ................................................................................................45

         In re W.R. Grace & Co.,
             475 B.R. 34 (D. Del. 2012) ................................................................................................37, 45

         In re W.R. Grace & Co.,
             729 F.3d 311 (3d Cir. 2013).....................................................................................................16

         In re Wash. Mut., Inc.,
             442 B.R. 314 (Bankr. D. Del. 2011) ................................................................................ passim

         In re World Health Alts., Inc.,
             344 B.R. 291 (Bankr. D. Del. 2006) ........................................................................................23

         In re Zenith Elecs. Corp.,
             241 B.R. 92 (Bankr. D. Del. 1999) ..............................................................................24, 25, 54

         John Hancock Mut. Life Ins. Co. v. Route 37 Bus. Park Assocs.,
            987 F.2d 154 (3d Cir. 1993).........................................................................................16, 48, 65

         Kane v. Johns-Manville Corp.,
            843 F.2d 636 (2d Cir. 1988).....................................................................................................45

         Myers v. Martin (In re Martin),
           91 F.3d 389 (3d Cir. 1996) ................................................................................................61, 62

         Momentum Mfg. Corp. v. Emp. Creditors Comm. (In re Momentum Mfg. Corp.),
           25 F.3d 1132 (2d Cir. 1994).....................................................................................................35

         Oneida Motor Freight, Inc. v. United Jersey Bank,
            848 F.2d 414 (3d Cir. 1988) ....................................................................................................13

         Pizza of Haw., Inc. v. Shakey’s, Inc. (In re Pizza of Haw., Inc.),
             761 F.2d 1374 (9th Cir. 1985) .................................................................................................45

         Singer v. Olympia Brewing Co.,
            878 F.2d 596 (2d Cir. 1989) ....................................................................................................30

         United States v. Energy Res.,
            495 U.S. 545 (1990) ................................................................................................................45

         Tex. Extrusion Corp. v. Lockheed Corp. (In re Tex. Extrusion Corp.),
             844 F.2d 1142 (5th Cir. 1988) .................................................................................................13


32341934.1
                                                                            ix
                           Case 24-10703-CTG                      Doc 598           Filed 11/01/24             Page 11 of 79




         United States v. Occidental Chem. Corp.,
            200 F.3d 143 (3d Cir. 1999) ....................................................................................................30

         United States v. Tex.,
            507 U.S. 529 (1993) ................................................................................................................30

         Statutes

         11 U.S.C. § 101(31) .......................................................................................................................39

         11 U.S.C. § 365 ........................................................................................................................22, 34

         11 U.S.C. § 503 ..............................................................................................................................42

         11 U.S.C. § 507 ........................................................................................................................43, 47

         11 U.S.C. § 1114 ............................................................................................................................47

         11 U.S.C. § 1122 .................................................................................................................... passim

         11 U.S.C. § 1123 .................................................................................................................... passim

         11 U.S.C. § 1125 .................................................................................................................... passim

         11 U.S.C. § 1126 .................................................................................................................... passim

         11 U.S.C. § 1127 ............................................................................................................................51

         11 U.S.C. § 1129 .................................................................................................................... passim

         11 U.S.C. § 1141 ............................................................................................................................60

         Other Authorities

         Bankruptcy Rule 3017 ...................................................................................................................34

         Bankruptcy Rule 3018 ...................................................................................................................34

         Bankruptcy Rule 3019 .......................................................................................................52, 53, 64

         Bankruptcy Rule 3020 ...................................................................................................................53

         Bankruptcy Rule 6004 ...................................................................................................................53

         Bankruptcy Rule 6006 ...................................................................................................................53

         Bankruptcy Rule 9019 ........................................................................................................... passim



32341934.1
                                                                                x
                       Case 24-10703-CTG               Doc 598        Filed 11/01/24        Page 12 of 79




                 Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.), along with its debtor subsidiaries, as

         debtors and debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases

         (these “Chapter 11 Cases”), submit this memorandum of law (this “Memorandum”) in support of

         confirmation of the Fourth Amended Joint Chapter 11 Plan of Liquidation for Seaplane Debtor 1,

         Inc. (f/k/a ICON Aircraft, Inc.) and its Debtor Affiliates [Docket No. 579] (as modified, amended,

         or supplemented from time to time hereafter, the “Plan”),1 and in response to the objections

         thereto. As demonstrated below, the Plan satisfies the requirements of sections 1125 and 1129 of

         title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”)2 and should
         be confirmed. In support of confirmation of the Plan and in response to the Objections (as defined

         below), the Debtors respectfully state as follows:

                                                    Preliminary Statement

                 1.       The Debtors’ Plan comes at the culmination of an orderly and efficient chapter 11

         process that saw the Debtors sell substantially all of the Debtors’ assets and effectuate a value-

         maximizing process. The Plan provides for the best possible outcome for creditors and equity

         holders and is the result the extraordinary efforts of the Debtors’ directors, officers, and

         professionals to create value for the benefit of the Estates. For the reasons stated herein and in the

         Declarations (as defined below), the Debtors respectfully request the Court approve the Disclosure

         Statement on a final basis, confirm the Plan, and enter the Proposed Confirmation Order (as

         defined below).

                 2.       Following mediation and extensive negotiations with the Derivative Litigation

         Plaintiffs (as defined below), the Debtors stand poised to confirm a value-maximizing Plan. The


         1
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan or
             the Proposed Confirmation Order (as defined herein), as applicable.
         2
             A detailed description of the Debtors, their business, and the facts and circumstances surrounding these
             Chapter 11 Cases, is set forth in greater detail in the Declaration of Thomas M. McCabe in Support of the Debtors’
             Chapter 11 Petitions and First Day Pleadings [Docket No. 2]. On April 4, 2024 (the “Petition Date”), the Debtors
             filed voluntary petitions for relief with the United States Bankruptcy Court for the District of Delaware
             (the “Court”). The Debtors continue to operate their business as debtors in possession pursuant to sections
             1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been
             appointed in these Chapter 11 Cases.
32341934.1
                                                                  1
                      Case 24-10703-CTG          Doc 598       Filed 11/01/24    Page 13 of 79




         Plan represents the culmination of the Debtors’ efforts in these Chapter 11 Cases. Overall, the

         Plan provides the best possible outcome for creditors and exhibits the unceasing efforts of the

         Debtors’ directors, officers, and other professionals to create value for the benefit of the Estates.

                3.      The Plan reflects compromises by numerous parties in interest and, if confirmed,

         will facilitate, among other things: (a) the orderly and expedient distribution of the Debtors’ assets

         to creditors; (b) the incorporation of the Debtors’ settlement with the Derivative Litigation

         Plaintiffs over the Derivative Litigation Claims (each as defined below), which avoids costly, fact-

         intensive and time-consuming litigation with respect thereto; and (c) the wind-down and

         dissolution of the Debtors’ Estates.

                4.      As described more fully herein, four (4) objections to confirmation were filed

         (collectively, the “Objections”). For the reasons stated herein and in the Declarations (as defined
         below), the Debtors ask this Court to overrule the remaining Objections in their entirety and enter

         the proposed order confirming the Plan (the “Proposed Confirmation Order”).

                                                      Argument

                5.      This Memorandum is divided into three parts. Part I sets forth the procedural

         history of these Chapter 11 Cases, including the Plan, the Disclosure Statement (as defined below),

         the Debtors’ solicitation efforts and voting results, and a brief summary of the various Objections

         filed in response to the Plan. Part II establishes the Plan’s compliance with the applicable

         confirmation requirements, including that certain of the discretionary contents of the Plan,

         including the Plan’s release provisions, are appropriate and should be approved. Part III provides

         the legal basis on which the remaining Objections to the Plan should be overruled.

                6.      In further support of confirmation, the Debtors submit the following declarations

         (collectively, the “Declarations”):

                        a.      the Declaration of Adam Fialkowski of Stretto, Inc. with Respect to the
                                Tabulation of Votes on the Further Amended Joint Chapter 11 Plan of
                                Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates [Docket
                                No. 397] (the “Initial Voting Report”);


32341934.1
                                                           2
                       Case 24-10703-CTG               Doc 598        Filed 11/01/24        Page 14 of 79




                          b.       the Declaration of Thomas M. McCabe in Support of Confirmation of the
                                   Fourth Amended Joint Chapter 11 Plan of Liquidation for Seaplane
                                   Debtor 1, Inc. (f/k/a ICON Aircraft, Inc.) and its Debtor Affiliates [Docket
                                   No. 582] (the “McCabe Declaration”);

                          c.       the Declaration of Thomas G. Fitzgerald, Independent Director and Sole
                                   Member of the Special Committee of the Board of Directors of Seaplane
                                   Debtor 1, Inc. and its Debtor Affiliates, in Support of Approval of the
                                   Disclosure Statement on a Final Basis and Confirmation of the Fourth
                                   Amended Joint Chapter 11 Plan of Liquidation for Seaplane Debtor 1, Inc.
                                   (f/k/a ICON Aircraft, Inc.) and its Debtor Affiliates Under Chapter 11 of the
                                   Bankruptcy Code [Docket No. 583] (the “FitzGerald Declaration”); and

                          d.       the Supplemental Declaration of Adam Fialkowski of Stretto, Inc. with
                                   Respect to the Tabulation of Votes on the Further Amended Joint Chapter
                                   11 Plan of Liquidation for Seaplane Debtor 1, Inc. (f/k/a ICON Aircraft,
                                   Inc.) and its Debtor Affiliates [Docket No. 594] (the “Supplemental Voting
                                   Report”, and together with the Initial Voting Report, the “Voting Report”).

                 7.       For the reasons stated herein and in light of the evidentiary support offered in the

         Declarations and to be further offered at the Confirmation Hearing, the Debtors respectfully

         request that the Court find that the Debtors have satisfied their burden under the Bankruptcy Code

         and confirm the Plan.

                                             Case Background and Objections

                 A. Procedural History

                 8.       Since the Petition Date, the Debtors have engaged in a multi-faceted process to

         maximize the value of the Debtors’ Estates for their stakeholders, as discussed further below.

         First, the Debtors conducted an auction and closed the sale of substantially all of the Debtors’

         assets. Second, the Debtors engaged in months-long negotiations with the Derivative Litigation

         Plaintiffs,3 resulting in the resolution of all disputes between the Debtors and the Derivative

         Litigation Plaintiffs.

                 9.       On May 13, 2024, the Debtors filed with this Court the Joint Chapter 11 Plan of

         Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates [Docket No. 196] and the Disclosure

         3
             As used herein, the term “Derivative Litigation Plaintiffs” has the meaning set forth in the Verified Statement of
             Paul, Weiss, Rifkind, Wharton & Garrison LLP and Landis Rath & Cobb LLP Pursuant to Federal Rule of
             Bankruptcy Procedure 2019 [Docket No. 111].
32341934.1
                                                                  3
                       Case 24-10703-CTG             Doc 598        Filed 11/01/24       Page 15 of 79




         Statement for Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates

         [Docket No. 197], along with the Disclosure Statement Motion (as defined below)4 pursuant to

         which the Debtors sought a combined hearing on final approval of the adequacy of the Disclosure

         Statement (as defined below) and the confirmation of the Plan and the related solicitation and

         voting procedures.

                 10.      On May 31, 2024, the Debtors filed the Notice of Filing of (I) Amended Joint

         Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates; (II) Amended

         Disclosure Statement for Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its

         Debtor Affiliates; and (III) Blacklines Thereof [Docket No. 238], which included the Amended

         Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates and the

         Amended Disclosure Statement for Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc.

         and its Debtor Affiliates attached thereto as Exhibit A and Exhibit B, respectively.
                 11.      On June 3, 2024, the Debtors filed the Notice of Filing of (I) Further Amended Joint

         Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates; (II) Further

         Amended Disclosure Statement for Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc.

         and its Debtor Affiliates; and (III) Blacklines Thereof [Docket No. 243], which included the

         Second Amended Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor

         Affiliates and the Second Amended Disclosure Statement for Joint Chapter 11 Plan of Liquidation

         for ICON Aircraft, Inc. and its Debtor Affiliates (as modified, amended, or supplemented from

         time to time “Disclosure Statement”) attached thereto as Exhibit A and Exhibit B, respectively.

                 12.      On June 3, 2024, the Court entered the Disclosure Statement Order5 which, among

         other things: (a) conditionally approved the Disclosure Statement for solicitation purposes only;

         4
             See Debtors’ Motion for Entry of Order (I) Conditionally Approving the Disclosure Statement, (II) Scheduling
             the Combined Hearing, (III) Establishing Notice and Objection Procedures for Confirmation of Plan and Final
             Approval of Adequacy of Disclosures, (IV) Establishing Solicitation, Voting, and Related Procedures,
             (V) Approving Related Dates, Deadlines, and Procedures, and (VI) Granting Related Relief [Docket No. 198]
             (the “Disclosure Statement Motion”).
         5
             See Order (I) Conditionally Approving the Disclosure Statement, (II) Scheduling the Combined Hearing,
             (III) Establishing Notice and Objection Procedures for Confirmation of Plan and Final Approval of Adequacy of
             Disclosures, (IV) Establishing Solicitation, Voting, and Related Procedures, (V) Approving Related Dates,
32341934.1
                                                                4
                       Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 16 of 79




         (b) established July 10, 2024, at 4:00 p.m. (prevailing Eastern Time), as the deadline to object to

         the Plan and final approval of the adequacy of the disclosures in the Disclosure Statement;6 (c)

         approved the solicitation, voting, and tabulation procedures; (d) approved the form and manner of

         the Combined Hearing Notice (as defined in the Disclosure Statement Order); and (e) approved

         other related dates, deadlines, and procedures. The Debtors caused Stretto, Inc. (the “Notice and

         Claims Agent”), on or about June 6, 2024, to serve the Solicitation Packages (as defined in the

         Disclosure Statement Order), including the Combined Hearing Notice, in accordance with the

         terms of the Disclosure Statement Order.7 The Debtors caused the Publication Notice (as defined

         in the Disclosure Statement Order) to be published in The New York Times (national edition) and

         the Sacramento Bee on June 10, 2024, and June 11, 2024, respectively.8
                 13.      On June 18, 2024, the Court approved the sale of substantially all the Debtors’

         assets (the “Sale”) to SG Investment America, Inc. (“SGIA” or the “Purchaser”) pursuant to the

         Order (A) Authorizing and Approving the Debtors’ Entry into the Purchase Agreement and

         Backup Purchase Agreement, (B) Authorizing the Sale of the Purchased Assets of the Debtors Free

         and Clear of All Claims, (C) Approving the Assumption and Assignment of the Assumed Contracts,

         and (D) Granting Related Relief [Docket No. 296] (the “Sale Order”), in accordance with the terms

         of that certain Asset Purchase Agreement by and between the Debtors and the Purchaser dated as

         of May 1, 2024 (as may be amended, modified, or supplemented, the “APA”). Pursuant to the

         terms of the APA, the Purchaser took possession of the Purchased Assets and assumed the

         Assumed Liabilities (each as defined in the APA) on June 26, 2024.

             Deadlines, and Procedures, and (VI) Granting Related Relief [Docket No. 248] (the “Disclosure Statement
             Order”).
         6
             The deadline for the Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”) and PK
             Investment Co., Ltd., PK Capital L.P., Pudong Science and Technology Investment (Cayman) Co. Ltd., and
             Unimax Asset Holdings Ltd. (collectively, “PDSTI”) to object to the Plan and final approval of the Disclosure
             Statement was October 28, 2024.
         7
             See Affidavit of Service [Docket No. 269].
         8
             See Affidavit of Publication of the Notice of (I) Conditional Approval of Disclosure Statement and (II) the Hearing
             to Consider (A) Final Approval of the Disclosure Statement as Containing Adequate Information,
             (B) Confirmation of the Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates,
             and (C) Related Voting and Objection Deadlines [Docket No. 275].
32341934.1
                                                                   5
                       Case 24-10703-CTG              Doc 598        Filed 11/01/24        Page 17 of 79




                 14.      On July 3, 2024, the Debtors filed the Notice of Filing Plan Supplement

         [Docket No. 340] (the “Initial Plan Supplement”), which included the: (a) identity and

         compensation of the Plan Administrator; (b) the Plan Administrator Agreement; (c) the identity

         and compensation of insiders employed by the Plan Administrator; and (d) a list of Retained

         Causes of Action.

                 15.      On October 11, 2024, the Debtors filed the Third Amended Joint Chapter 11 Plan

         of Liquidation for Seaplane Debtor 1, Inc. (f/k/a Icon Aircraft, Inc.) and its Debtor Affiliates

         [Docket No. 543] (the “Third Amended Plan”).
                 16.      On October 28, 2024, the Debtors filed the Fourth Amended Joint Chapter 11 Plan

         of Liquidation for Seaplane Debtor 1, Inc. (f/k/a Icon Aircraft, Inc.) and its Debtor Affiliates

         [Docket No. 579].

                 17.      On October 28, 2024, the Debtors filed the Notice of Filing of Amended Plan

         Supplement [Docket No. 586] (the “Second Plan Supplement” and, together with the Initial Plan

         Supplement, the “Plan Supplement”), which included revised versions of: (a) identity and

         compensation of the Plan Administrator; (b) the Plan Administrator Agreement; and (c) the

         identity and compensation of insiders employed by the Plan Administrator. The Second Plan

         Supplement also included a Litigation Trust Agreement.

                 18.      The deadline for all Holders of Claims entitled to vote on the Plan to cast their

         ballots was July 10, 2024 at 4:00 p.m. (prevailing Eastern Time). The deadline for the U.S. Trustee

         and PDSTI to object to the Plan and final approval of the Disclosure Statement was October 28,

         2024. The Confirmation Hearing is scheduled for November 4, 2024 at 2:00 p.m. (prevailing

         Eastern Time).9




         9
             Pursuant to the Disclosure Statement Order, the Confirmation Hearing was originally scheduled for July 22, 2024.
             The Confirmation Hearing was adjourned to November 4, 2024 pursuant to the Notice of Further Adjournment
             of Combined Hearing to Consider Confirmation of the Plan and Final Approval of the Related Disclosure
             Statement [Docket No. 540].
32341934.1
                                                                 6
                        Case 24-10703-CTG            Doc 598        Filed 11/01/24      Page 18 of 79




                  B. Settlements with the Derivative Litigation Plaintiffs

                  19.     The Plan embodies a good-faith compromise and settlement of all claims or

         controversies held by the Debtors, the Derivative Litigation Plaintiffs and the DIP Secured Parties

         (but only in their capacity as DIP Secured Parties and not in any other capacity) that are settled by

         the Plan. In furtherance of this goal, the Debtors negotiated and executed a settlement between

         the Debtors and the Derivative Litigation Plaintiffs.

                  20.     On June 4, 2021, the Derivative Litigation Plaintiffs filed a lawsuit in Delaware

         Chancery Court (the “Derivative Litigation”),10 against certain other shareholders, directors, and
         the president of the Debtors (collectively, the “Derivative Litigation Defendants”), asserting direct

         and derivative claims regarding breach of fiduciary duties, unjust enrichment, fraudulent

         inducement, misappropriation of technology, and self-dealings (the “Derivative Litigation

         Claims”). The Debtors were named as a nominal defendant solely in connection with the

         derivative claims.

                  21.     On June 26, 2024, the Derivative Litigation Plaintiffs filed the Motion of the

         Derivative Litigation Plaintiffs for Immediate Stay Relief and Authorization to Continue

         Prosecuting the Derivative Claims in Delaware Chancery Court [Docket No. 320] (the “Standing

         Motion”). On July 5, 2024, the Debtors filed a preliminary objection to the Standing Motion

         [Docket No. 342] (the “Preliminary Standing Motion Objection”).

                  22.     Over the course of these chapter 11 cases, the Debtors and the Derivative Litigation

         Plaintiffs participated in active negotiations with respect to the Derivative Litigation, including

         prosecution of the Derivative Litigation Claims. Specifically, the parties exchanged information

         and materials, as well as participated in mediation. In connection with the Derivative Litigation

         Claims, the Special Committee of the board of directors undertook a review of the Derivative

         Litigation Claims and potential defenses and counter claims the Debtors’ estates may have had

         against the Derivative Litigation Plaintiffs. As part of that review, the Debtors’ advisors studied

         10
              See Asset Mgmt. Co. Venture Fund, L.P., et al. v. Shanghai Pudong Science & Tech. Inv. Co., Ltd., Case No.
              2021- 0475-JTL (Del. Ch. Ct. June 4, 2021).
32341934.1
                                                                7
                      Case 24-10703-CTG         Doc 598       Filed 11/01/24   Page 19 of 79




         related documents, correspondence by and among the parties, and other materials, as well as

         researched and analyzed the applicable law governing Derivative Litigation Claims.

                23.     On August 16, 2024, the Court entered an Order Approving Stipulation with

         Respect to the Resolution of Certain Disputes with the Derivative Litigation Plaintiffs and Kirk

         Hawkins, in his Individual Capacity [Docket No. 440] outlining a schedule for discovery,

         supplemental briefing, and the hearing relating to, among other things, the Standing Motion, the

         Preliminary Standing Motion Objection, the Plan, and the prosecution of the Derivative Litigation

         Claims (collectively, the “Disputed Issues”).
                24.     On September 16, 2024, the Debtors and the Derivative Litigation Plaintiffs

         participated in a mediation before Chief Judge Ashely Chan of the United States Bankruptcy Court

         for the Eastern District of Pennsylvania regarding the Disputed Issues and continued settlement

         discussions post-mediation. As a result of the significant efforts of Judge Chan as well as the

         Debtors, and the Derivative Litigation Plaintiffs (together, the “Parties”), the Parties reached an

         agreement regarding resolution of the Disputed Issues, which is reflected in the terms of the

         settlement (the “Settlement”) reached between the Debtors and the Derivative Litigation Plaintiffs

         included in the Debtors’ Motion for Entry of an Order, Pursuant to Sections 105(a) and 363(b) of

         the Bankruptcy Code and Bankruptcy Rule 9019, Approving the Settlement Regarding Certain

         Disputes with the Derivative Litigation Plaintiffs [Docket No. 542] (the “9019 Motion”). A

         hearing is set for November 4, 2024 at 2:00 p.m. (prevailing Eastern Time).

                25.     The Settlement, as discussed in more detail in the 9019 Motion, resolves all disputes

         with the Derivative Litigation Plaintiffs and Mr. Hawkins, including with respect to the Plan, by

         agreement among the parties to a path with three potential scenarios, depending on whether certain

         conditions are met. In sum, the Settlement resolves all disputes with the Derivative Litigation

         Plaintiffs and Hawkins, including with respect to the Plan, by agreement among the parties (a) if

         the assignment of the Derivative Litigation Claims is consummated, to a private sale and

         assignment by the Debtors of the Derivative Litigation Claims to the Derivative Litigation

         Plaintiffs, for the price of $2.5 million and the assumption of significant unsecured claims,
32341934.1
                                                          8
                           Case 24-10703-CTG         Doc 598        Filed 11/01/24     Page 20 of 79




         pursuant to section 363 of the Bankruptcy Code or (b) if the assignment of the Derivative Litigation

         Claims is not consummated, to support the confirmation of a mutually-agreed liquidating

         chapter 11 plan that includes the establishment of a litigation trust to pursue the Derivative

         Litigation Claims, under which the Derivative Litigation Plaintiffs can either: (i) sponsor such

         chapter 11 plan on terms satisfactory to the parties, including a contemplated cash payment to the

         estate, and obtain the right to appoint the majority of the litigation trust oversight board, or (i) not

         sponsor the chapter 11 plan and jointly choose an independent litigation trustee with the Debtors.

                     26.     The Debtors believe that entry into the Settlement reflects the sound exercise of

         their business judgment and is well within the lowest bounds of reasonableness, particularly

         considering the significant risks and costs to the estates of litigating the Disputed Issues to

         uncertain outcome.11
                     C. Plan Solicitation and Notification Process

                     27.     In compliance with the Bankruptcy Code, only Holders of Claims in Impaired

         Classes receiving or retaining property on account of such Claims were entitled to vote on the

         Plan.12 Holders of Claims and Interests were not entitled to vote if their rights are Unimpaired or

         if their rights are Impaired and they are deemed to reject the Plan.13 The following Classes of

         Claims and Interests were not entitled to vote on the Plan, and the Debtors did not solicit votes

         from Holders of such Claims and Interests:

             Class            Claim or Interest               Status              Voting Rights
             1                Other Secured Claims            Unimpaired          Not Entitled to Vote (Deemed to
                                                                                  Accept)




         11
               See Declaration of Thomas G. Fitzgerald in Support of Debtors’ Motion for Entry of an Order, Pursuant to
               Section 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy Rule 9019, Approving the Settlement
               Regarding Certain Disputes with the Derivative Litigation Plaintiffs [Docket No. 542-7], ¶¶ 9–14.
         12
               See 11 U.S.C. § 1126.
         13
               See Plan, Art. III.A.
32341934.1
                                                                9
                             Case 24-10703-CTG           Doc 598        Filed 11/01/24     Page 21 of 79




             2                   Other Priority Claims            Unimpaired           Not Entitled to Vote (Deemed to
                                                                                       Accept)
             4                   Convenience Claims               Unimpaired           Not Entitled to Vote (Deemed to
                                                                                       Accept)
             6                   Intercompany Claims              Impaired             Not Entitled to Vote (Deemed to
                                                                                       Reject)
             7                   Section 510(b) Claims            Impaired             Not Entitled to Vote (Deemed to
                                                                                       Reject)
             8                   Interests                        Impaired             Not Entitled to Vote (Deemed to
                                                                                       Reject)
             9                   Intercompany Interests           Impaired             Not Entitled to Vote (Deemed to
                                                                                       Reject)

                       28.      The Debtors solicited votes on the Plan only from Holders of Claims in Impaired

         Classes receiving or retaining property on account of such Claims. The voting results, as reflected

         in the Supplemental Voting Report, are summarized as follows:

                                                       Total Ballots Received
                                     Accept                                                 Reject
                    Number                        Amount                 Number                         Amount
                 (% of Number)                (% of Amount)           (% of Number)                  (% of Amount)
                                                    Class 3 – Noteholder Claims
                           0                          0                      3                       $137,383,374.93
                         (0%)                     (0.00%)                (100.0%)                       (100.0%)
                                               Class 5 – General Unsecured Claims14
                          32                   $5,598,184.72                 2                            $2.00
                       (94.1%)                  (99.99996%)               (5.9%)                       (0.00004%)

                       29.      As set forth above and in the Voting Reports, Holders of Claims in Classes 3 and 5

         were entitled to vote to accept or reject the Plan (collectively, the “Voting Classes”). Class 5 voted

         to accept the Plan.15 As a direct result of the Debtors’ efforts to engage their key constituencies,

         the Plan enjoys the support of the Debtors’ key stakeholders, including sufficient Holders in the

         Impaired Classes entitled to vote upon the Plan.16


         14
                 The Initial Voting Report refers to solicitation of Class 4 (General Unsecured Claims). The Plan now
                 contemplates an additional Class, Class 4 (Convenience Claims), and therefore the General Unsecured Claims
                 Class is now Class 5. There were no other changes to solicitation outside the renumbering of this Class 5.
         15
                 See Initial Voting Report ¶¶ 13–14; Supplemental Voting Report ¶ 4.
         16
                 Id.
32341934.1
                                                                   10
                        Case 24-10703-CTG              Doc 598        Filed 11/01/24      Page 22 of 79




                  30.      As set forth in the Voting Reports, Holders of Claims and Interests in Classes 1–9

         were also entitled to opt-out of the definition of “Releasing Parties,” as set forth in the Plan. If a

         Holder of a Claim or Interest opted to execute the Release Opt-Out, delivered either in conjunction

         with the Solicitation Packages or the Notice of Non-Voting Status Packages, as applicable, such

         Release Opt-Out was returned to the Notice and Claims Agent, who reflected this decision in the

         Initial Voting Report and Supplemental Voting Report.17 Notice of the Release Opt-Out and the

         opportunity to opt out of the release was adequate as to each of the Holders of Claims and Interests.

                  31.      In total, the Notice and Claims Agent received twenty-seven (27) Release Opt-Out

         forms from Holders of Claims and Interests.18 Based on these results, along with the manner of
         solicitation and distribution described herein, the Debtors submit that the notice provided to all

         Classes adequately satisfied the requirements of the Bankruptcy Code.

                  D. Confirmation Objections

                  32.      On October 28, 2024, the U.S. Trustee filed the UST Objection.19 The U.S.

         Trustees primarily objects to the Debtors’ Third-Party Release (as defined below) as set forth in

         Article IX.B of the Plan, arguing that these are prohibited non-consensual releases. The U.S.

         Trustee further contends that the Plan discharges the liquidating Debtors in violation of the

         Bankruptcy Code.

                  33.      On October 28, 2024, PDSTI filed the PDSTI Objection.20 PDSTI alleges that the

         (a) Debtors failed to solicit approval of the Third Amended Plan or provide justifications for the

         changes contained in the Third Amended Plan, (b) the classification of claims is improper, (c) the

         Plan unfairly discriminates in favor of certain Holders of Claims, and (d) the Plan violates the


         17
              Initial Voting Report ¶ 16; Supplemental Voting Report ¶ 6.
         18
              Supplemental Voting Report, Ex. B.
         19
              See United States Trustee’s Objection to the Third Amended Joint Chapter 11 Plan of Liquidation for Seaplane
              Debtor 1, Inc. (F/K/A/ Icon Aircraft, Inc.) and Its Debtor Affiliates [Docket No. 581] (the “UST Objection”).
         20
              See PDSTI’S Omnibus Objection to (I) Debtors’ Motion for Entry of an Order, Pursuant to Sections 105(a) and
              363(b) of the Bankruptcy Code and Bankruptcy Rule 9019, Approving the Settlement Regarding Certain Disputes
              with the Derivative Litigation Plaintiffs and (II) Confirmation of the Debtors Third Amended Joint Chapter 11
              Plan of Liquidation [Docket No. 584] (the “PDSTI Objection”).
32341934.1
                                                                 11
                        Case 24-10703-CTG            Doc 598        Filed 11/01/24      Page 23 of 79




         absolute priority rule. The PDSTI Objection also objects to the Debtors’ 9019 Motion alleging

         that the Settlement is not in the estates’ best interest and that PDSTI offered a superior proposal.

                  34.      On October 30, 2024, Wells Fargo Bank, N.A. (“Wells Fargo”) filed the WF

         Objection.21 Wells Fargo seeks to preserve its rights pending satisfaction of its secured claim.

                  35.      On October 31, 2024, SGIA filed the SGIA Objection. The Debtors are reviewing

         the objection.

                  36.      For the reasons set forth in Part III herein, the Court should overrule the Objections

         in their entirety, approve the Plan, and enter the Proposed Confirmation Order.

                          The Disclosure Statement Should Be Approved on a Final Basis
                  37.      Pursuant to section 1125 of the Bankruptcy Code, the proponent of a proposed

         chapter 11 plan must provide “adequate information” regarding that plan to holders of impaired

         claims and interests entitled to vote on the plan.22             Specifically, section 1125(a)(1) of the

         Bankruptcy Code states, in relevant part, as follows:


                           “[A]dequate information” means information of a kind, and in
                           sufficient detail, as far as is reasonably practicable in light of the
                           nature and history of the debtor and the condition of the debtor’s
                           books and records, including a discussion of the potential material
                           Federal tax consequences of the plan to the debtor, any successor to
                           the debtor, and a hypothetical investor typical of the holders of
                           claims or interests in the case, that would enable such a hypothetical
                           investor of the relevant class to make an informed judgment about
                           the plan[.]23

                  38.      The primary purpose of a disclosure statement is to provide all material information

         that creditors and interest holders affected by a proposed plan need to make an informed decision




         21
              See Limited Objection of Wells Fargo Bank, N.A. to the Fourth Amended Joint Chapter 11 Plan of Liquidation
              for Seaplane Debtor 1, Inc. (f/k/a Icon Aircraft, Inc.) and Its Debtor Affiliates [Docket No. 592] (the “WF
              Objection”).
         22
              11 U.S.C. § 1125.
         23
              11 U.S.C. § 1125(a)(1).
32341934.1
                                                               12
                         Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 24 of 79




         regarding whether or not to vote for the plan.24 Congress intended that such informed judgments

         would be needed to both negotiate the terms of, and vote on, a plan of reorganization.25

                  39.      “Adequate information” is a flexible standard, based on the facts and circumstances

         of each case.26 Courts in the Third Circuit and elsewhere acknowledge that determining what

         constitutes “adequate information” for the purpose of satisfying section 1125 of the Bankruptcy

         Code resides within the broad discretion of the court.27

                  40.      In making a determination as to whether a disclosure statement contains adequate

         information as required by section 1125 of the Bankruptcy Code, courts typically look for

         disclosures related to topics such as: (a) the events that led to the filing of a bankruptcy petition;

         (b) the relationship of the debtor with its affiliates; (c) a description of the available assets and

         their value; (d) the company’s anticipated future; (e) the source of information stated in the


         24
              See, e.g., Century Glove, Inc. v. First Am. Bank of N.Y., 860 F.2d 94, 100 (3d Cir. 1988) (“[Section] 1125 seeks
              to guarantee a minimum amount of information to the creditor asked for its vote.”); In re Monnier Bros., 755 F.2d
              1336, 1342 (8th Cir. 1985) (“The primary purpose of a disclosure statement is to give the creditors the information
              they need to decide whether to accept the plan.”); In re Phoenix Petroleum, Co., 278 B.R. 385, 392 (Bankr. E.D.
              Pa. 2001) (“[T]he general purpose of the disclosure statement is to provide ‘adequate information’ to enable
              ‘impaired’ classes of creditors and interest holders to make an informed judgment about the proposed plan and
              determine whether to vote in favor of or against that plan.”); In re Unichem Corp., 72 B.R. 95, 97 (Bankr. N.D.
              Ill. 1987) (“The primary purpose of a disclosure statement is to provide all material information which creditors
              and equity security holders affected by the plan need in order to make an intelligent decision whether to vote for
              or against the plan”).
         25
              Century Glove, 860 F.2d at 100.
         26
              11 U.S.C. § 1125(a)(1) (“‘[A]dequate information’ means information of a kind, and in sufficient detail, as far as
              is reasonably practicable in light of the nature and history of the debtor and the condition of the debtor’s books
              and records . . . ”); see also Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988)
              (“From the legislative history of § 1125 we discern that adequate information will be determined by the facts and
              circumstances of each case.”); First Am. Bank of N.Y. v. Century Glove, Inc., 81 B.R. 274, 279 (D. Del. 1988)
              (noting that adequacy of disclosure for a particular debtor will be determined based on how much information is
              available from outside sources); S. Rep. No. 95-989, at 121 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, 5907
              (“The information required will necessarily be governed by the circumstances of the case.”).
         27
              See, e.g., In re River Village Assoc., 181 B.R. 795, 804 (E.D. Pa. 1995) (“[T]he Bankruptcy Court is thus given
              substantial discretion in considering the adequacy of a disclosure statement.”); Tex. Extrusion Corp. v. Lockheed
              Corp. (In re Tex. Extrusion Corp.), 844 F.2d 1142, 1157 (5th Cir. 1988) (“The determination of what is adequate
              information is subjective and made on a case by case basis. This determination is largely within the discretion of
              the bankruptcy court.”); Phoenix Petroleum Co., 278 B.R. at 393 (same); In re PC Liquidation Corp., 383 B.R.
              856, 865 (E.D.N.Y. 2008) (“The standard for disclosure is, thus, flexible and what constitutes ‘adequate
              information’ in any particular situation is determined on a case-by-case basis, with the determination being largely
              within the discretion of the bankruptcy court.”); In re Lisanti Foods, Inc., 329 B.R. 491, 507 (D.N.J. 2005), aff’d,
              241 F. App’x 1 (3d Cir. 2007). (“The information required will necessarily be governed by the circumstances of
              the case.”).
32341934.1
                                                                    13
                        Case 24-10703-CTG               Doc 598        Filed 11/01/24       Page 25 of 79




         disclosure statement; (f) the debtor’s condition while in chapter 11; (g) claims asserted against the

         debtor; (h) the estimated return to creditors under a chapter 7 liquidation; (i) the future management

         of the debtor; (j) the chapter 11 plan or a summary thereof; (k) financial information, valuations,

         and projections relevant to a creditor’s decision to accept or reject the chapter 11 plan;

         (l) information relevant to the risks posed to creditors under the plan; (m) the actual or projected

         realizable value from recovery of preferential or otherwise avoidable transfers; (n) litigation likely

         to arise in a non-bankruptcy context; and (o) tax attributes of the debtor.28 Disclosure regarding

         all topics is not necessary in every case.29

                  41.      The Disclosure Statement provides “adequate information” to allow Holders of

         Claims in the Voting Classes to make an informed decision about whether to vote to accept or reject

         the Plan. Specifically, the Disclosure Statement contains a number of categories of information that

         courts consider “adequate information,” including, among other things: (a) the Plan, including a

         summary, the procedures for voting on the Plan and projected recoveries thereunder; (b) the

         statutory requirements for confirming the Plan; (c) the Debtors’ organizational structure, business

         operations, and financial obligations; (d) the events leading to the filing of the Debtors’ Chapter 11

         Cases; (e) the major events during these Chapter 11 Cases, including significant pleadings filed in

         the Debtors’ Chapter 11 Cases and certain relief granted by the Court; (f) the classification and

         treatment of Claims and Interests under the Plan, including the identification of the Holders of

         Claims entitled to vote on the Plan; (g) the means for implementation of the Plan, the provisions

         governing distributions to certain Holders of Claims pursuant to the Plan, the procedures for

         resolving Disputed Claims and other significant aspects of the Plan; (h) certain risk factors that




         28
              See, e.g., In re U.S. Brass Corp., 194 B.R. 420, 424–25 (Bankr. E.D. Tex. 1996) (listing factors courts have
              considered in determining the adequacy of information provided in a disclosure statement); In re Scioto Valley
              Mortg. Co., 88 B.R. 168, 170–71 (Bankr. S.D. Ohio 1988) (same); In re Metrocraft Pub. Serv., Inc., 39 B.R. 567,
              568 (Bankr. N.D. Ga. 1984) (same).
         29
              See U.S. Brass Corp., 194 B.R. at 424; see also Phoenix Petroleum Co., 278 B.R. at 393 (“[C]ertain categories
              of information which may be necessary in one case may be omitted in another; no one list of categories will apply
              in every case.”).
32341934.1
                                                                  14
                        Case 24-10703-CTG              Doc 598         Filed 11/01/24       Page 26 of 79




         Holders of Claims should consider before voting to accept or reject the Plan (Section XIV); and

         (i) certain United States federal income tax consequences of the Plan.30

                  42.      Accordingly, the Debtors respectfully submit that the Disclosure Statement

         contains “adequate information” and satisfies section 1125 of the Bankruptcy Code, and the

         Disclosure Statement should be approved on a final basis.

                   The Plan Satisfies the Requirements of Section 1129 of the Bankruptcy Code

                  43.      To confirm the Plan, the Court must find that the Debtors have satisfied the

         provisions of section 1129 of the Bankruptcy Code by a preponderance of the evidence.31 As set

         forth herein, the Plan fully complies with all relevant sections of the Bankruptcy Code—including

         sections 1122, 1123, 1125, 1126, and 1129—as well as the Bankruptcy Rules and applicable non-

         bankruptcy law.

                  A.       The Plan Complies with Section 1129(a)(1) of the Bankruptcy Code

                  44.      Under section 1129(a)(1) of the Bankruptcy Code, a plan must “compl[y] with the

         applicable provisions of [the Bankruptcy Code].”32 The legislative history of section 1129(a)(1)
         of the Bankruptcy Code explains that this provision also encompasses the requirements of

         sections 1122 and 1123 of the Bankruptcy Code, which govern the classification of claims and the

         contents of a plan, respectively.33 As explained below, the Plan complies with the requirements

         of sections 1122, 1123, and 1129 of the Bankruptcy Code, as well as other applicable provisions.

                           1.       The Plan Properly Classifies Creditor’s Claims Under Section 1122 of
                                    the Bankruptcy Code
                  45.      The classification requirement of section 1122(a) of the Bankruptcy Code provides,

         in pertinent part, as follows:


         30
              See FitzGerald Dec. ¶ 24.
         31
              See In re Armstrong World Indus., Inc., 348 B.R. 111, 120, n.15 (D. Del. 2006); In re Genesis Health Ventures,
              Inc., 266 B.R. 591, 616 n.23 (Bankr. D. Del. 2001).
         32
              11 U.S.C. § 1129(a)(1).
         33
              S. Rep. No. 95-989, at 126, reprinted in 1978 U.S.C. C.A.N. 5787, 5912 (1978); H.R. Rep. No. 95-595, at 412,
              reprinted in 1978 U.S.C. C.A.N. 5963, 6368 (1977); In re S&W Enter., 37 B.R. 153, 158 (Bankr. N.D. Ill. 1984)
              (“An examination of the Legislative History of [section 1129(a)(1)] reveals that although its scope is certainly
32341934.1
                                                                  15
                         Case 24-10703-CTG                Doc 598         Filed 11/01/24         Page 27 of 79




                            Except as provided in subsection (b) of this section, a plan may place
                            a claim or an interest in a particular class only if such claim or
                            interest is substantially similar to other claims or interests of such
                            class.34

                  46.       Although section 1122(a) of the Bankruptcy Code requires that all claims or

         interests in a class be substantially similar to all other claims or interests in the class, it “does not

         expressly require that all substantially similar claims or interests be placed in the same class.”35

         Courts in this jurisdiction, as well as others, frequently recognize the significant flexibility that

         plan proponents have to place similar claims in different classes, provided there is a legitimate

         business justification to do so.36 Grounds justifying separate classification, including separate
         classification of unsecured claims, include: (a) where members of a class possess different legal

         rights; and (b) where there is a good business reason for separate classification.37

              broad, the provisions it was most directly aimed at were [s]ections 1122 and 1123.”); see also In re Nutritional
              Sourcing Corp., 398 B.R. 816, 824 (Bankr. D. Del. 2008).
         34
              11 U.S.C. § 1122(a).
         35
              In re Hyatt, 509 B.R. 707, 714–15 (Bankr. D.N.M. 2014) (citing In re City of Colorado Springs Spring Creek
              Gen. Improvement Dist., 187 B.R. 683, 687 (Bankr. D. Colo. 1995)) (observing that “[t]here is no requirement
              [in subsection (a)] that all substantially similar claims be placed in the same class . . . ”); see also Armstrong
              World Indus., 348 B.R. at 159.
         36
              See, e.g., In re W.R. Grace & Co., 729 F.3d 311, 326 (3d Cir. 2013) (citing In re AOV Indus., Inc., 792 F.2d 1140,
              1150 (D.C. Cir. 1986)) (concluding that when analyzing whether claims are “substantially similar,” the proper
              focus is on “the legal character of the claim as it relates to the assets of the debtor”); Armstrong World Indus.,
              348 B.R. at 159 (“A classification structure satisfies section 1122 of the Bankruptcy Code when a reasonable
              basis exists for the structure, and the claims or interests within each particular class are substantially similar.”)
              (citations omitted); see also In re Barakat, 99 F.3d 1520, 1526 (9th Cir. 1996) (separate classification of similar
              claims requires a “legitimate business or economic justification”); Boston Post Road Ltd. P’ship v. F.D.I.C. (In
              re Boston Post Road Ltd. P’ship), 21 F.3d 477, 483 (2nd Cir. 1994) (“the debtor must adduce credible proof of a
              legitimate reason for separate classification of similar claims.”); In re Adelphia Communications Corp., 368 B.R.
              140, 246–247 (Bankr. S.D.N.Y. 2007) (“Although section 1122(a), by its terms, doesn’t require that all similarly-
              situated claims be classified together, caselaw has made clear that separate classification of substantially similar
              unsecured claims is permissible only when there is a reasonable basis for doing so or when the decision to
              separately classify ‘does not offend one’s sensibility of due process and fair play.’”) (quoting In re One Times
              Square Assocs. Ltd. P’ship, 159 B.R. 695, 703 (Bankr. S.D.N.Y. 1993)).
         37
              See John Hancock Mut. Life Ins. Co. v. Route 37 Bus. Park Assocs., 987 F.2d 154, 158–59 (3d Cir. 1993) (holding
              that, as long as each class represents a voting interest that is “sufficiently distinct and weighty to merit a separate
              voice in the decision whether the proposed reorganization should proceed,” the classification is proper); In re
              Mallinckrodt PLC, 639 B.R. 837, 858 (Bankr. D. Del. 2022) (permitting the separate classification of unsecured
              noteholders where the two groups had divergent debt structuring rights); In re Jersey City Med. Ctr., 817 F.2d
              1055, 1061 (3d Cir. 1987) (approving classification of general unsecured creditors into different classes: doctors’
              indemnification claims, medical malpractice claims, employee benefit claims and trade claims); In re ECE Wind-
              down LLC, No. 22-10320 (JTD) (Dec. 21, 2022) [Docket No. 520] (approving plan with separate classification
32341934.1
                                                                     16
                         Case 24-10703-CTG             Doc 598         Filed 11/01/24       Page 28 of 79




                  47.       The Plan’s classification of Claims and Interests satisfies the requirements of

         section 1122 of the Bankruptcy Code because the Plan places the Claims and Interests into nine (9)

         separate Classes, with Claims and Interests in each Class differing from the Claims and Interests

         in each other Class in a legal or factual manner, or based on other relevant criteria.38 Specifically,

         the Plan provides for the separate classification of Claims and Interests into the following Classes:

                            a.      Class 1: Other Secured Claims;
                            b.      Class 2: Other Priority Claims;
                            c.      Class 3: Noteholder Claims;
                            d.      Class 4: Convenience Claims;
                            e.      Class 5: General Unsecured Claims;
                            f.      Class 6: Intercompany Claims
                            g.      Class 7: Section 510(b) Claims
                            h.      Class 8: Interests
                            i.      Class 9: Intercompany Interests
                  48.       Claims and Interests assigned to each particular Class described above are

         substantially similar to the other Claims and Interests in such Class.39 In addition, valid business,

         legal, and factual reasons justify the separate classification of the particular Claims or Interests

         into the Classes set forth in the Plan, and the classification scheme was not implemented for any

         improper purpose and does not unfairly discriminate between or among the Holders of the Claims

         or Interests.40 Specifically, the Plan separately classifies the Claims because each Holder of such

         Claim may hold (or may have held at the time the Plan was filed) rights in the Estate that were

         legally dissimilar to the Claims in other Classes.41

                  49.       For example, debt and equity are separately classified, and secured debt is

         separately classified from unsecured debt. Other aspects of the classification scheme reasonably

         recognize the different legal or factual nature of the Claims and Interests. Finally, each Claim or

              of general unsecured claims); In re Masten Space Systems, Inc., No. 22-10657 (BLS) (Nov. 9, 2022) [Docket No.
              226] (same); In re Insys Therapeutics, Inc., et al., No. 19-11292 (KG) (Bankr. D. Del. Dec. 4, 2019) [Docket No.
              1115] (same).
         38
              See Plan, Art. III.
         39
              See FitzGerald Declaration ¶ 26.
         40
              See id.
         41
              See id.
32341934.1
                                                                  17
                         Case 24-10703-CTG              Doc 598    Filed 11/01/24   Page 29 of 79




         Interest in each particular Class is substantially similar to every other Claim or Interest in that

         Class. Accordingly, the Claims or Interests assigned to each particular Class described above are

         substantially similar to the other Claims or Interests in each such Class and the distinctions among

         Classes are based on valid business, factual, and/or legal distinctions. The Debtors thus submit

         that the Plan fully complies with and satisfies section 1122 of the Bankruptcy Code.

                             2.     The Plan Satisfies the Mandatory Plan Requirements of Section
                                    1123(a) of the Bankruptcy Code

                  50.        Section 1123(a) of the Bankruptcy Code sets forth seven criteria that every

         chapter 11 plan must satisfy. The Plan satisfies each of these requirements, and no party has
         asserted otherwise.
                                    a.        Designation of Classes of Claims and Interests (Section
                                              1123(a)(1))

                  51.        For the reasons set forth above, Article III of the Plan properly designates classes

         of Claim and Interests and thus satisfies the requirements of section 1122 of the Bankruptcy

         Code.42
                                    b.        Specification of Unimpaired Classes (Section 1123(a)(2))

                  52.        Section 1123(a)(2) of the Bankruptcy Code requires that the Plan “specify any class

         of claims or interests that is not impaired under the plan.”43 The Plan meets this requirement by

         identifying each Class in Article III that is Unimpaired.44




         42
              Id. ¶ 27(a).
         43
              11 U.S.C. § 1123(a)(2).
         44
              See Plan, § III.A; FitzGerald Decl. ¶ 27(b).
32341934.1
                                                              18
                        Case 24-10703-CTG               Doc 598    Filed 11/01/24   Page 30 of 79




                                    c.        Treatment of Impaired Classes (Section 1123(a)(3))

                  53.      Section 1123(a)(3) of the Bankruptcy Code requires that the Plan “specify the

         treatment of any class of claims or interests that is impaired under the plan.”45 The Plan meets this

         requirement by setting forth the treatment of each Class in Article III that is Impaired.46

                                    d.        Equal Treatment Within Classes (Section 1123(a)(4))

                  54.      Section 1123(a)(4) of the Bankruptcy Code requires that the Plan “provide the same

         treatment for each claim or interest of a particular class, unless the holder of a particular claim or

         interest agrees to a less favorable treatment of such particular claim or interest.”47 The Plan meets

         this requirement because holders of Allowed Claims or Interests will receive the same rights and

         treatment as other holders of Allowed Claims or Interests within such holders’ respective Class.48
                                    e.        Means for Implementation (Section 1123(a)(5))

                  55.      Section 1123(a)(5) of the Bankruptcy Code requires that the Plan provide “adequate

         means” for its implementation.49 The Plan satisfies this requirement because Article IV of the

         Plan, as well as other provisions thereof, provide for the means by which the Plan will be

         implemented.50

                  56.      Among other things, Article IV of the Plan provides for: (a) the wind down and

         dissolution of the Debtors; (b) the appointment of a Plan Administrator; (c) the appointment of a

         Litigation Trustee to the extent the litigation trust path of the Settlement is pursued; (d) the sources

         of consideration for Plan distributions, including the funding of the Wind Down Budget; (e) the

         treatment of Executory Contracts; (f) the settlement and discharge of Claims and Interests; (g) the

         preservation and vesting in the Litigation Trust of certain Retained Causes of Action, including


         45
              11 U.S.C. § 1123(a)(3).
         46
              See Plan, § III.A; FitzGerald Decl. ¶ 27(b).
         47
              11 U.S.C. § 1123(a)(4).
         48
              See FitzGerald Decl. ¶ 27(b).
         49
              11 U.S.C. § 1123(a)(5).
         50
              See FitzGerald Decl. ¶ 27(c).
32341934.1
                                                              19
                        Case 24-10703-CTG         Doc 598       Filed 11/01/24    Page 31 of 79




         the Derivative Litigation Claims, to the extent the litigation trust path of the Settlement is pursued;

         and (h) the taking of all necessary and appropriate actions by the Debtors to effectuate the

         transactions under and in connection with the Plan .51 Accordingly, the Plan complies with section

         1123(a)(5) of the Bankruptcy Code, and no party has asserted otherwise.

                                    f.    Issuance of Non-Voting Securities (Section 1123(a)(6))

                  57.      Section 1123(a)(6) of the Bankruptcy Code requires that a debtor’s corporate

         constituent documents prohibit the issuance of nonvoting equity securities.52 The Plan is a

         liquidating plan pursuant to which the Debtors’ assets will be liquidated and distributed by the

         Debtors, Plan Administrator, or the Litigation Trustee, as applicable, in accordance with the terms

         of the Plan and the Plan Administrator Agreement and the Litigation Trust Agreement, as

         applicable. As such, the Plan does not provide for the issuance of non-voting equity securities, the

         Plan satisfies section 1123(a)(6) of the Bankruptcy Code, and no party has asserted otherwise.53
                                    g.    Directors and Officers (Section 1123(a)(7))

                  58.      Section 1123(a)(7) of the Bankruptcy Code requires that plan provisions with

         respect to the manner of selection of any director, officer, or trustee, or any other successor thereto,

         be “consistent with the interests of creditors and equity security holders and with public policy.”54

         In accordance with Article IV.I of the Plan, on the Effective Date and following satisfaction of the

         Debtors’ distribution and funding requirements set forth in the Plan, the Debtors shall have no

         further duties or responsibilities in connection with implementation of this Plan, and the directors

         and officers of the Debtors shall be deemed to have resigned and the employees of the Debtors

         terminated. From and after the Effective Date, the Plan Administrator shall be authorized to act

         on behalf of the Estates, and to the extent the litigation trust path of the Settlement is pursued, the

         Litigation Trustee shall be authorized to act on behalf of the Litigation Trust.


         51
              See Plan, Art. IV.
         52
              11 U.S.C. § 1123(a)(6).
         53
              FitzGerald Decl. ¶ 27(d).
         54
              11 U.S.C. § 1123(a)(7).
32341934.1
                                                           20
                         Case 24-10703-CTG                  Doc 598    Filed 11/01/24   Page 32 of 79




                  59.      The identity of the Plan Administrator, along with the nature of any compensation

         for such person or persons, has been in the Plan Supplement. The identity and compensation of

         the Litigation Trustee (if any) has been or will be disclosed in accordance with the terms of the

         Proposed Confirmation Order and Plan. The appointment of the Litigation Trustee (if any) and

         the Plan Administrator, as applicable, is consistent with the interests of creditors and with public

         policy.55 Accordingly, the Plan satisfies the requirements of section 1123(a)(7) of the Bankruptcy

         Code, and no party has asserted otherwise.
                           3.        The Plan Complies with the Discretionary Provisions of Section 1123(b)
                                     of the Bankruptcy Code

                  60.      Section 1123(b) of the Bankruptcy Code sets forth various discretionary provisions

         that may be incorporated into a chapter 11 plan. Among other things, section 1123(b) of the

         Bankruptcy Code provides that a plan may: (a) impair or leave unimpaired any class of claims or

         interests; (b) modify or leave unaffected the rights of holders of secured or unsecured claims;

         (c) provide for the settlement or adjustment of claims against or interests in a debtor or its estate

         or the retention and enforcement by a debtor, trustee, or other representative of claims or interests;

         (d) provide for the assumption or rejection of executory contracts and unexpired leases; (e) provide

         for the sale of all or substantially all of the property of a debtor’s estate, and the distribution of the

         proceeds of such sale among holders of claims or interests; or (f) “include any other appropriate

         provision not inconsistent with the applicable provisions of [the Bankruptcy Code].”56
                                     a.       Impairment and Unimpairment of Classes (Section 1123(b)(1))

                  61.      The Plan satisfies the requirements of section 1123(b)(1), and no party has asserted

         otherwise.      Article III leaves each Class of Claims and Interests Impaired or Unimpaired,

         respectively.57




         55
              See FitzGerald Decl. ¶ 27(e); Plan, Art. IV.I.
         56
              See U.S.C. § 1123(b)(1)–(6).
         57
              Plan, Art. III.A; FitzGerald Decl. ¶ 28(a).
32341934.1
                                                                  21
                          Case 24-10703-CTG          Doc 598      Filed 11/01/24   Page 33 of 79




                                    b.        Treatment of Executory Contracts and Unexpired Leases
                                              (Section 1123(b)(2))

                    62.    The Plan is consistent with section 1123(b)(2) of the Bankruptcy Code. Article V

         of the Plan provides for the automatic rejection of the Debtors’ Executory Contracts and Unexpired

         Leases (other than the D&O Policies and as otherwise provided in the Plan) not previously rejected,

         assumed, or assumed and assigned during these Chapter 11 Cases under section 365 of the

         Bankruptcy Code, nor scheduled to be assumed under the Plan, the Plan Supplement, or the Sale

         Orders. The Debtors determined, in their sound business judgment, that all of the Executory

         Contracts and Unexpired Leases other than the D&O Policies should be automatically rejected
         upon the Effective Date as they failed to provide any benefit to the Estate or to parties in interest

         as part of the liquidation.58 Accordingly, the Plan satisfies the requirements of Bankruptcy Code

         section 1123(b)(2), and no party has asserted otherwise.59

                                    c.        The Plan Settlement of Claims and Controversies Is Fair and
                                              Equitable and Should be Approved

                    63.    The Plan provides for the good faith compromise and settlement of numerous

         Claims, Causes of Action, and controversies held by the Debtors, the Derivative Litigation

         Plaintiffs, and the DIP Secured Parties, all of which are designed to achieve a beneficial and

         efficient resolution of the Chapter 11 Cases for all parties in interest. In addition, the Proposed

         Confirmation Order incorporates the Settlement with the Derivative Litigation Plaintiffs.

         Accordingly, except as otherwise set forth in the Plan or herein, and in consideration for the

         distribution and other benefits provided under the Plan, including various release, exculpation, and

         injunction provisions, the Plan shall constitute a good-faith compromise and settlement of all

         Claims and controversies resolved pursuant to the Plan. Each component of the Plan is an integral,

         integrated, and inextricably linked part of the settlement contemplated thereunder, is fair equitable,




         58
              See FitzGerald Decl. ¶ 28(b).
         59
              Id.
32341934.1
                                                             22
                         Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 34 of 79




         and reasonable, and is in the best interest of the Debtors, their Estates, creditors, and all parties in

         interest.60

                  64.        The compromises set forth in the Plan are critical to bringing closure to these and

         other matters addressed in the Plan and to providing timely distributions to creditors on account of

         their Claims. They were negotiated in good faith and at arms’-length following extensive

         negotiations and mediations with the relevant creditor parties. Accordingly, such compromises

         and settlements should be approved through the Proposed Confirmation Order.

                                     d.       The Plan’s Release, Exculpation, and Injunction Provisions
                                              Satisfy Section 1123(b) of the Bankruptcy Code

                  65.        The Plan also includes certain releases, an exculpation provision, and an injunction
         provision. These discretionary provisions are proper because, among other things, they comply

         with the Bankruptcy Code and are in the best interests of the Debtors’ Estates.61

                                              i. The Debtors Release Is Appropriate

                  66.        Section 1123(b)(3)(A) of the Bankruptcy Code provides that a chapter 11 plan may

         provide for “the settlement or adjustment of any claim or interest belonging to the debtor or to the

         estate.”62 Further, a debtor may release claims under section 1123(b)(3)(A) of the Bankruptcy

         Code “if the release is a valid exercise of the debtor’s business judgment, is fair, reasonable, and

         in the best interests of the estate.”63 Article IX.A of the Plan provides for releases by the Debtors
         and their Estates, as of the Effective Date, of, among things, certain Claims, rights, and causes of

         60
              Id. ¶¶ 5, 28(c).
         61
              Id. ¶ 28(c).
         62
              See In re Coram Healthcare Corp., 315 B.R. 321, 334–35 (Bankr. D. Del. 2004) (holding that standards for
              approval of settlement under section 1123 of the Bankruptcy Code are generally the same as those under
              Bankruptcy Rule 9019). Generally, courts in the Third Circuit approve a settlement by the debtor if the settlement
              “exceed[s] the lowest point in the range of reasonableness.” In re Exaeris, Inc., 380 B.R. 741, 746– 47 (Bankr.
              D. Del. 2008) (citation omitted); see also Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.
              1983) (examining whether settlement “fall[s] below the lowest point in the range of reasonableness”) (alteration
              in original) (citation omitted); In re World Health Alts., Inc., 344 B.R. 291, 296 (Bankr. D. Del. 2006) (stating
              that settlement must be within reasonable range of litigation possibilities).
         63
              In re Spansion, Inc., 426 B.R. 114, 143 (Bankr. D. Del. 2010); see also In re Wash. Mut., Inc., 442 B.R. 314, 327
              (Bankr. D. Del. 2011) (“In making its evaluation [whether to approve a settlement], the court must determine
              whether ‘the compromise is fair, reasonable, and in the best interest of the estate.’”) (internal citations omitted).
32341934.1
                                                                    23
                         Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 35 of 79




         action that the Debtors or their Estates may have against the Released Parties (the “Debtors

         Release”).64

                  67.      Courts in this jurisdiction generally analyze five factors when determining the

         propriety of a debtor release, commonly known as the Zenith or Master Mortgage factors.65 The

         analysis includes an inquiry into whether there is: (1) identity of interest between the debtor and

         non-debtor; (2) substantial contribution to the plan by the non-debtor; (3) the necessity of the

         release to the reorganization; (4) overwhelming acceptance of the plan and release by creditors and

         interest holders; and (5) payment of all or substantially all of the claims of the creditors and interest

         holders.66 These factors are “neither exclusive nor conjunctive requirements” but rather serve as
         guidance to courts in determining fairness of a debtor’s releases.67

                  68.      The Debtors Release meets the applicable standard because it is fair, reasonable,

         and in the best interests of the Debtors’ Estates. As described in the FitzGerald Declaration,68 and

         as an analysis of the Zenith factors demonstrates, the Debtors Release embodied in Article IX.A

         of the Plan should be approved. The Debtors Release is consistent with Zenith for the following

         reasons:

                  First, an identity of interest exists between the Debtors and the parties to be released. Each
                  of the Released Parties, as a stakeholder and critical participant in the Plan process, shares
                  a common goal with the Debtors in seeing the Plan succeed and would have been unlikely
                  to participate in the negotiations and compromises that led to the ultimate formation of the

         64
              “Released Party” means each of, and in each case solely in its capacity as such: (a) the Debtors; (b) the DIP
              Secured Parties but solely in their capacity as DIP Secured Parties and in no other capacity, including in their
              capacity as counterparties to the IP Agreement; (c) the Derivative Litigation Plaintiffs; and (d) each Related Party
              of the Debtors or the Derivative Litigation Plaintiffs, including any professional retained by the Debtors, DIP
              Secured Parties, or the Derivative Litigation Plaintiffs, in connection with these Chapter 11 Cases.
              Notwithstanding the foregoing, the definition of “Released Party” shall not include any Non-Released Parties.
              However, Kirk Hawkins and PDSTI, including its current and former directors, officers, and employees, shall not
              be a Released Party. See Plan, Art. I.A.103.
         65
              See In re Indianapolis Downs, LLC, 486 B.R. 286, 303 (Bankr. D. Del. 2013) (citing In re Zenith Elecs. Corp.,
              241 B.R. 92, 105 (Bankr. D. Del. 1999)); In re Master Mortg. Inv. Fund, Inc., 168 B.R. 930, 937 (Bankr. W.D.
              Mo. 1994).
         66
              See In re Washington Mut., Inc., 442 B.R. 314, 346 (Bankr. D. Del. 2011) (citing Zenith, 241 B.R. at 110 and
              Master Mortg., 168 B.R. at 937).
         67
              Id. (citing Master Mortg., 168 B.R. at 935).
         68
              See FitzGerald Decl. ¶ 28(c)(i)–(iv).
32341934.1
                                                                    24
                           Case 24-10703-CTG             Doc 598         Filed 11/01/24        Page 36 of 79




                  Plan without the Debtors Release. Like the Debtors, these parties seek to confirm the Plan
                  and implement the liquidation contemplated thereunder.69 Moreover, with respect to
                  certain of the releases—e.g., those releasing the Debtors’ current and former directors and
                  officers—there is a clear identity of interest supporting the release because the Debtors
                  owe certain indemnification obligations to such parties pursuant to the Debtors’
                  governance documents and the Plan, which would otherwise increase the claims pool and
                  delay distributions to Holders of Allowed Claims to the detriment of all parties in interest.70
                  Thus, a lawsuit commenced by the Debtors (or derivatively on behalf of the Debtors)
                  against certain individuals would effectively be a lawsuit against the Debtors itself.

                  Second, the substantial contributions are clear. The Released Parties played an integral
                  role in the formation of the Plan and have expended significant time and resources
                  analyzing and negotiating the issues present in these Chapter 11 Cases. As Delaware
                  bankruptcy courts have recognized, a wide variety of acts may illustrate a substantial
                  contribution to a debtor’s reorganization.71 Moreover, the Released Parties have expended
                  time and resources analyzing and negotiating the issues raised by the Derivative Litigation
                  Plaintiffs and negotiating the value-maximizing resolutions set forth in the 9019 Motion
                  and the Plan.72 Here, the value contributed by the Released Parties is substantial and
                  without the contributions of each of the Released Parties, it is unlikely the 9019 Motion,
                  the Plan, or the transactions contemplated therein would have been possible.

                       •    With respect to the Derivative Litigation Plaintiffs (excluding Kirk Hawkins), this
                            Released Party provided substantial consideration to these Chapter 11 Cases and
                            the resolutions set forth in the Proposed Confirmation Order, including, among
                            other things: (1) potentially providing cash through the purchase of the Derivative
                            Litigation Claims or sponsorship of the Plan; and (2) agreeing to vote for and
                            otherwise support the Plan.

                       •    The DIP Secured Parties contributed a $9 million term loan facility, in addition to
                            prepetition facilities, to fund these Chapter 11 Cases. The DIP Secured Parties’
                            contributions were instrumental to the success of these Chapter 11 Cases and
                            provided a path for the Debtors to achieve a successful restructuring.


         69
              See In re Abeinsa Holding, Inc., 562 B.R. 265, 284 (Bankr. D. Del. 2016) (finding that “there is an identity of
              interest between the debtors and the released parties arising out the shared common goal of confirming and
              implementing the Plan.”); see also Zenith, 241 B.R. at 110 (concluding that certain releasees who “were
              instrumental in formulating the Plan” shared an identity of interest with the debtor “in seeing that the Plan succeed
              and the company reorganize”).
         70
              See Indianapolis Downs, 486 B.R. at 303 (“An identity of interest exists when, among other things, the debtor
              has a duty to indemnify the nondebtor receiving the release.”).
         71
              See id. at 304 (finding that the non-debtor party had substantially contributed by performing services for the
              debtors post-petition without receiving compensation); Wash. Mut., 442 B.R. at 347 (finding substantial
              contribution required the contribution of “cash or anything else of a tangible value to the [plan of reorganization]
              or to creditors”); Zenith, 241 B.R. at 111 (finding that prepetition contribution of work in negotiating a plan
              constituted adequate consideration for debtor’s release).
         72
              See FitzGerald Decl. ¶ 28(c)(i)–(iv).
32341934.1
                                                                    25
                          Case 24-10703-CTG        Doc 598        Filed 11/01/24    Page 37 of 79




                      •    With respect to the Debtors’ current and former officers, these Released Parties
                           engaged in the performance of roles related to the Debtors’ chapter 11 process
                           beyond their compensated duties, including, among other things: (1) assisting
                           Debtors professionals in the preparation of sale materials pre- and post-petition;
                           (2) responding to due diligence inquiries at all hours, day, night, or weekend;
                           (3) assisting in the design and implementation of the liquidation strategy;
                           (4) assisting in the implementation of a successful bankruptcy sale of the Debtors’
                           assets; (5) assisting in the maximization of value in the bankruptcy sale through
                           support in negotiations; (6) active participation in negotiations with creditors;
                           (7) active engagement in numerous meetings, negotiations, and implementations in
                           the chapter 11 case that are outside of stated officer role or duties in an effort to
                           minimize professional cost and maximize value for the estate; and (8) forbearance
                           from new and additional professional and financial opportunities through the
                           completion of the Debtors’ ongoing Chapter 11 Cases.

                      •    With respect to the Debtors’ current and former directors, these Released Parties
                           engaged in the performance of certain non-compensated duties, in addition to
                           preexisting compensated duties, including, among other things: (1) weekly, and
                           sometimes bi-weekly board meetings with no commiserate increase in pay despite
                           the substantial additional time involved; (2) active engagement in and approval of
                           all aspects of the chapter 11 process, including the filing for bankruptcy, the sale of
                           the Debtors’ assets, the approval of the Debtors’ Disclosure Statement and Plan,
                           and the Settlement; and (3) consideration cooperation with the special committee’s
                           investigation into potential Causes of Action that could provide additional
                           recoveries to unsecured creditors. In addition, Mr. FitzGerald undertook
                           substantial additional responsibility through his work on the Special Committee in
                           its role in investigating potential causes of action.73

                  Third, the Debtors Release is essential to the Debtors’ Plan of liquidation because it
                  constitutes an integral term of the Plan. The Debtors Release under the Plan incorporates
                  the release agreed to in the Settlement and releases the Debtors from, among other things,
                  any and all claims and Causes of Action, whether known or unknown, including any claims
                  and Causes of Action that the Debtors or their estates would have been legally entitled to
                  assert in their own right including any claims or Causes of Action that could be asserted
                  derivatively or on behalf of the Debtors (or their estates), that such Entity would have been
                  legally entitled to assert (whether individually or collectively), based on, or relating to, or
                  in any manner arising from, in whole or in part, the Debtors (including the management,
                  ownership, or operation thereof, or otherwise), any securities issued by the Debtors and the
                  ownership thereof, the Debtors’ in- or out-of-court restructuring efforts, any avoidance
                  actions, these Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
                  or filing of the Disclosure Statement, the Sale Motion, the Plan, the Plan Supplement, or
                  any other transaction, contract, instrument, release, or other agreement or document created
                  or entered into in connection with the Sale, the Plan, the Plan Supplement, these Chapter 11
                  Cases, the filing of these Chapter 11 Cases, the pursuit of the Confirmation Order, the

         73
              See FitzGerald Decl. ¶¶ 20–22.
32341934.1
                                                             26
                         Case 24-10703-CTG             Doc 598    Filed 11/01/24   Page 38 of 79




                    pursuit of the Sale Order, the pursuit of Consummation, the administration and
                    implementation of the Plan, including the distribution of property under the Plan or any
                    other related agreement, or upon any other related act or omission, transaction, agreement,
                    event, or other occurrence or omission taking place on or before the Effective Date,
                    excepting the Retained Causes of Action and any Claims or Causes of Action related to
                    any act or omission determined in a Final Order by a court of competent jurisdiction to
                    have constituted actual intentional fraud, willful misconduct, or gross negligence.

                    Absent the Debtors Release, it is highly unlikely the Released Parties would have agreed
                    to support the Plan and it is possible that the claims pool would have been substantially
                    increased through the filing of Claims for indemnification or contribution by the officers
                    and directors of the Debtors, which would also meaningfully delay distributions to Holders
                    of Allowed Claims. As described above, each of the Released Parties contributed
                    substantial value to these Chapter 11 Cases, and they did so with the understanding that
                    they would receive releases from the Debtors. In the absence of these parties’ support, the
                    Debtors would not have been in a position to maximize the value of its assets in the Sale,
                    to negotiate a settlement with the Derivative Litigation Plaintiffs, or to confirm the Plan.
                    The Debtors Release is therefore an essential element of the Debtors’ Plan, albeit in
                    liquidation and not reorganization.

                    Fourth, as evidenced by the Voting Reports and noted herein, the Plan, and thus the
                    Debtors Release, was resoundingly approved, as evidenced by the overwhelming
                    acceptance of the Plan by Class 5.74 In fact, of 37 voting creditors, only 5 rejected the
                    Plan.75 Creditors in Class 5 representing 99.99 percent by amount of voted claims and 94.1
                    percent by number in the aggregate voted to accept the Plan.76 Given the critical nature of
                    the Debtors Release, these figures evidence the Debtors’ key stakeholders’ support for the
                    Debtors Release and the Plan. Even if the Court determined that this support does not
                    constitute “overwhelming acceptance,” as noted above, these factors are neither exclusive
                    nor conjunctive.77

                    Fifth, the Plan provides for meaningful recoveries under the circumstances for all creditors
                    potentially giving up colorable claims under the releases. As demonstrated by the
                    liquidation analysis filed at Docket No. 237, as amended in Docket No. 247 (the
                    “Liquidation Analysis”), the ranges of recoveries for all Holders of Claims are as high
                    under the Plan than they would have been in a chapter 7 liquidation scenario.78
                    Additionally, the Debtors Release ensures that creditors can receive meaningful
                    distributions in a timely manner, while retaining potentially valuable Retained Causes of
                    Action for potential additional recoveries. The transactions set forth in the Plan maximize
                    value and provide meaningful recoveries for all stakeholders under the circumstances.


         74
              See Supplemental Voting Report, Ex. A.
         75
              Id.
         76
              See id.
         77
              See Washington Mut., 442 B.R. at 346.
         78
              See McCabe Decl. ¶ 14.
32341934.1
                                                             27
                         Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 39 of 79




                  69.       For the reasons set forth above, and as supported by the FitzGerald Declaration, the

         Zenith factors supports approval of the Debtors Release. Moreover, the breadth of the Debtors

         Release is consistent with those regularly approved in this jurisdiction and others.79 The Debtors

         have satisfied the business judgment standard in granting the Debtors Release under the Plan. The

         Debtors Release easily meets the applicable standard because it is fair, reasonable, and in the best

         interests of the Debtors’ Estate and critically, is supported by 99.9% of the Debtors’ creditors who

         accepted the Plan. Thus, the Court should approve the Debtors Release in the Plan, and no party

         has asserted otherwise.

                                              ii. The Third-Party Release is Wholly Consensual and
                                                  Appropriate under the Facts and Circumstances of this Case

                  70.       Article IX.B of the Plan provides for the release of each Released Party from Causes
         of Action—other than the Retained Causes of Action—of the Debtors and certain non-debtor

         Releasing Parties80 (the “Third-Party Release”). These releases have the same subject matter

         nexus as the Debtors Release described above.

                  71.       The provisions of the Plan, including the Third-Party Release, were heavily

         negotiated, and the Third-Party Release is integral to the Plan.81 Absent the Third-Party Release,

         it is unlikely the Debtors would have been able to bring their key stakeholder groups to the



         79
              See, e.g., In re One Aviation Corp., No. 18-12309 (CSS) (Bankr. D. Del. Sep. 18, 2019) (approving Plan providing
              for definition of Released Parties including, among others, the debtors’ directors and officers); In re Blackhawk
              Mining LLC, No. 19-11595 (LSS) (Bankr. D. Del. Aug. 29, 2019) (same); In re Checkout Holding Corp., No. 18-
              12794 (KG) (Bankr. D. Del. Jan. 31, 2019) (same); In re TK Holdings Inc., No. 17-11375 (BLS) (Bankr. D. Del.
              Feb. 21, 2018) (same); In re Samson Resources Corp., No. 14-11934 (CSS) (Bankr. D.Del. Feb. 13, 2017) (same).
         80
              “Releasing Parties” means, means, collectively, and in each case solely in their respective capacities as such: (a)
              the DIP Secured Parties; (b) the Committee, if any; (c) all Holders of Claims deemed hereunder to have accepted
              the Plan that have not filed an objection to the release contained in Article IX herein prior to the Voting Deadline;
              (d) all Holders of a Claim that vote to accept or reject the Plan and do not timely submit a Release Opt-Out; (e)
              each current and former Affiliate of each Person or Entity in clauses (a) through (d) solely to the extent such
              Affiliate may assert Claims or Causes of Action on behalf of or in a derivative capacity by or through an Entity
              in clauses (a) through (e); and (g) each Related Party of each Entity in clauses (a) through (e) solely to the extent
              such Related Party may assert Claims or Causes of Action on behalf of or in a derivative capacity by or through
              an Entity in clauses (a) through (e). However, Kirk Hawkins shall not be deemed a Releasing Party under this
              Plan. Plan, Art. I.A.104.
         81
              See FitzGerald Decl. ¶ 28)(c)(iv).
32341934.1
                                                                    28
                        Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 40 of 79




         bargaining table or effectuate the value-maximizing transactions contemplated by the Plan.82

         Moreover, the Third-Party Release is a permissible consensual release consistent with Third

         Circuit law and similar to releases that bankruptcy courts in this and other districts have regularly

         approved in other chapter 11 plans when, as here, they are consensual.83 The Third-Party Release

         is consensual, consistent with established Third Circuit law, and integral to the Plan, and therefore

         should be approved.84

                  72.      Although the United States Supreme Court has limited the availability of third-

         party releases,85 those limitations only apply to certain non-consensual third-party releases—i.e.,

         releases that occur despite the affected party’s effort to object or opt out.86 Conversely, courts
         generally approve third-party releases that are consensual, recognizing that these are essentially

         settlements between releasing and released parties that evince these parties’ intent to be bound.

                  73.      In this District, courts have held that “creditors [who] were clearly and

         conspicuously informed that voting on the plan (whether the creditor voted to accept or reject it)

         would constitute a release unless the creditor opted out.”87 Thus, “the affirmative act of voting,


         82
              See id.
         83
              See Indianapolis Downs, 486 B.R. at 304–05 (approving third-party release that applied to unimpaired holders of
              claims deemed to accept the plan as consensual); Spansion, 426 B.R. at 144 (same); Wash. Mut., 442 B.R. at 352
              (observing that consensual third-party releases are permissible); see also In re One Aviation Corp., No. 18-12309
              (CSS) (Bankr. D. Del. Sep. 18, 2019) (approving Plan providing for definition of Released Parties including,
              among others, the Debtors’ directors and officers); In re Blackhawk Mining LLC, No. 19-11595 (LSS) (Bankr. D.
              Del. Aug. 29, 2019) (same); In re Checkout Holding Corp., No. 18-12794 (KG) (Bankr. D. Del. Jan. 31, 2019)
              (same); In re TK Holdings Inc., No. 17-11375 (BLS) (Bankr. D. Del. Feb. 21, 2018) (same); In re Samson
              Resources Corp., No. 14-11934 (CSS) (Bankr. D. Del. Feb. 13, 2017) (same); In re Horsehead Holding Corp.,
              No. 16-10287 (CSS) (Bankr. D. Del. Sep. 9, 2016) (same); In re Invitae, No. 24-11363 (MBK) (Bankr. D.N.J.
              Aug. 2, 2024) (approving a Plan providing for releases of certain directors and officers).
         84
              See FitzGerald Decl. ¶ 28)(c)(iv).
         85
              Harrington v. Purdue Pharma, L.P., et al. (In re Purdue Pharma L.P.), 144 S. Ct. 2071 (2024) (“[T]he bankruptcy
              code does not authorize a release and injunction that, as part of a plan of reorganization under Chapter 11,
              effectively seeks to discharge claims against a nondebtor without the consent of affected claimants.”).
         86
              Purdue Pharma, 144 S. Ct. at 2087. (“Nothing in what we have said should be construed to call into question
              consensual third-party releases offered in connection with a bankruptcy reorganization plan.”) (emphasis added).
              Historically, the Third Circuit approved even non-consensual third-party releases so long as those were fair to the
              releasing parties. See In re Millennium Lab Holdings II, LLC., 945 F.3d 126 (3d Cir. 2019); In re Mallinckrodt
              PLC, 639 B.R. 837 (Bankr. D. Del. 2022).
         87
              In re Smallhold, Inc., No. 24-10267 (CTG), at 6 (Bankr. D. Del. Sept. 25, 2024) [Docket No. 288].
32341934.1
                                                                   29
                           Case 24-10703-CTG             Doc 598          Filed 11/01/24        Page 41 of 79




         coupled with clear and conspicuous disclosure and instructions about the consequences of the vote

         and a simple mechanism for opting out, is a sufficient expression of consent to bind the creditor to

         the release under ordinary contract principles.”88 Thus, “[a]fter Purdue Pharma . . . affirmative

         consent is required.”

                   74.      The Debtors’ Releasing Parties includes all Holders of a Claim that vote to accept

         or reject the Plan and do not timely submit a Release Opt-Out and all Holders of Claims deemed

         to have accepted the Plan that have not filed an objection to the release contained in Article IX

         herein prior to the Voting Deadline (i.e., the Deemed Accepting Classes).89 All parties had ample

         opportunity to evaluate the Third-Party Release or object to the Plan. All parties in interest were

         provided extensive notice of these Chapter 11 Cases, the Plan, the deadline to object to

         confirmation of the Plan, and the deadline to execute the Release Opt-Out. Moreover, the

         Disclosure Statement, the Combined Hearing Notice, the Notice of Non-Voting Status Packages,

         and the ballots provided recipients, with timely, sufficient, appropriate, and adequate notice of the

         Third-Party Release.90 The Debtors required all Holders of Claims or Interests to either timely
         submit an executed Release Opt-Out form or file an objection to the Third-Party Release in order

         to provide such releases.91

                   75.      When multiple parties share liability for a single, indivisible injury, American

         courts have followed the common law “one satisfaction” rule.92 The Bankruptcy Code does not

         preclude the application of this common law rule.93 Holders of Claims who are deemed to have


         88
              Id. at 19.
         89
              Plan, Art. I.A.104.
         90
              See Disclosure Statement § X.B.2; Disclosure Statement Order ¶¶ E, H, J, 3 and Exs. 1, 2-A, 2-B, 3-A, 3-B.
         91
              See Plan, Art. I.A.104, IX.B.
         92
              See, e.g., Aro Mfg. Co. v. Convertible Top Replacement Co., 377 U.S. 476, 512 (1964) (“[F]ull satisfaction
              received from one tort-feasor prevents further recovery against another.”); United States v. Occidental Chem.
              Corp., 200 F.3d 143, 149–50 (3d Cir. 1999) (affirming application of one satisfaction rule); Singer v. Olympia
              Brewing Co., 878 F.2d 596, 600 (2d Cir. 1989) (“[A] plaintiff is entitled to only one satisfaction for each injury.”).
         93
              See United States v. Tex., 507 U.S. 529, 534 (1993) (“[S]tatutes which invade the common law . . . are to be read
              with a presumption favoring the retention of long-established and familiar principles, except when a statutory
              purpose to the contrary is evident.”).
32341934.1
                                                                     30
                        Case 24-10703-CTG              Doc 598         Filed 11/01/24       Page 42 of 79




         accepted the Plan will be paid in full and final satisfaction of their Claims.94 These Deemed

         Accepting Classes are getting paid in full. These Classes should not be allowed to assert the same

         Claims against non-debtors for the same injury in violation of the one satisfaction rule. Thus, the

         Debtors’ Third-Party Release reflect the application of the one satisfaction rule as the Holders who

         will be paid in full and final satisfaction of their Claims cannot assert these same claims against a

         non-debtor.

                  76.      Thus, the Debtors assert that the Third-Party Release is consensual, consistent with

         established Third Circuit law, and integral to the Plan and therefore should be approved.95

                                             iii. The Exculpation Provision Is Appropriate

                  77.      Article IX.C of the Plan provides for the exculpation of the Exculpated Parties.96
         The exculpation is fair and appropriate under both applicable law97 and the facts and circumstances

         of these Chapter 11 Cases. The exculpation provision is important to the Plan in that it removes

         the threat of certain litigation against the Exculpated Parties, who have played critical roles in, and

         made contributions to, the Debtors’ restructuring efforts, including the Chapter 11 Cases, and that

         such contributions represent good and valuable consideration to the Debtors, their Estates, and

         their creditors.98

                  78.      Courts evaluate the appropriateness of exculpation provisions based on a number

         of factors, including whether the plan was proposed in good faith, whether liability is limited, and

         whether the exculpation provision was necessary for plan negotiations.99 Exculpation provisions

         94
              See Plan, Arts. II—III.
         95
              See FitzGerald Decl. ¶ 28(c)(iv).
         96
              “Exculpated Parties” means in each case in its capacity as such, (a) the Debtors; (b) the Debtors’ directors and
              officers during these Chapter 11 Cases; (c) the Committee, if any; and (d) the Retained Professionals.
         97
              See In re Laboratory Partners, Inc., No. 13-12769 (PJW) (Bankr. D. Del. July 10, 2014) (finding that exculpation
              was appropriately extended to secured lender who funded the chapter 11 case); In re FAH Liquidating Corp.,
              No. 13-13087 (KG) (Bankr. D. Del. July 28, 2014) (finding that exculpation as applied to a non-debtor Plan
              Sponsor was appropriate under section 1123(b)).
         98
              FitzGerald Decl. ¶ 28(c)(v).
         99
              See, e.g., In re Enron Corp., 326 B.R. 497, 503 (S.D.N.Y. 2005) (evaluating the exculpation clause based on the
              manner in which the clause was made a part of the agreement, the necessity of the limited liability to the plan
              negotiations, and that those who participated in proposing the plan did so in good faith).
32341934.1
                                                                  31
                         Case 24-10703-CTG               Doc 598        Filed 11/01/24       Page 43 of 79




         that are limited to claims not involving actual fraud, willful misconduct, or gross negligence, are

         customary and generally approved in this district under appropriate circumstances.100 Unlike

         third-party releases, exculpation provisions do not affect the liability of third parties per se, but

         rather set a standard of care of gross negligence or willful misconduct in future litigation by a

         non-releasing party against an “exculpated party” for acts arising out of the debtor’s

         restructuring.101

                   79.      The Exculpated Parties have participated in good faith in formulating and

         negotiating the Sale of the Debtors’ assets and the Plan as it relates to the Debtors, and they should

         be entitled to protection from exposure to any lawsuits filed by disgruntled creditors or other

         unsatisfied parties.102 Moreover, the exculpation provision and the liability standard it sets
         represent a conclusion of law that flows logically from certain findings of fact that the Court must

         reach in confirming the Plan as it relates to the Debtors. As discussed above, this Court must find,

         under section 1129(a)(2), that the Debtors have complied with the applicable provisions of the

         Bankruptcy Code. Additionally, this Court must find, under section 1129(a)(3), that the Plan has

         been proposed in good faith and not by any means forbidden by law. These findings apply to the

         Debtors and, by extension, to the Debtors’ officers, directors, employees, and professionals.

         Accordingly, and under the facts and circumstances of these Chapter 11 Cases, the Court should

         approve the exculpation provision, and no party has asserted otherwise.

                                              iv. The Injunction Provision Is Appropriate

                   80.      The injunction provision set forth in Article IX.D of the Plan merely implements

         the Plan’s release and exculpation provisions, in part, by permanently enjoining all entities from

         100
               See Wash. Mut., 442 B.R. at 350-51 (holding that an exculpation clause that encompassed “the fiduciaries who
               have served during the chapter 11 proceeding: estate professionals, the [c]ommittees and their members, and the
               [d]ebtors’ directors and officers” was appropriate).
         101
               See In re PWS Holding Corp., 228 F.3d 224, 245 (3d Cir. 2000) (finding that an exculpation provision “is
               apparently a commonplace provision in Chapter 11 plans, [and] does not affect the liability of these parties, but
               rather states the standard of liability under the Code”); see also In re Premier Int’l Holdings, Inc., 2010 WL
               2745964, at *10 (CSS) (Bankr. D. Del. Apr. 29, 2010) (approving a similar exculpation provision as that provided
               for under the Plan); In re Spansion Inc., 2010 WL 2905001, at *16 (Bankr. D. Del. April 16, 2010) (same).
         102
               See FitzGerald Decl. ¶ 28(c)(v).
32341934.1
                                                                   32
                          Case 24-10703-CTG           Doc 598      Filed 11/01/24   Page 44 of 79




         commencing or maintaining any action against the Debtors, the Exculpated Parties, or the Released

         Parties, other than the Retained Causes of Action, on account of or in connection with or with

         respect to any such claims or interests released or subject to exculpation. Thus, the injunction

         provision is a key provision of the Plan because it enforces the release and exculpation provisions

         that are centrally important to the Plan.103 As such, to the extent the Court finds that the

         exculpation and release provisions are appropriate, the Debtors respectfully submit that the

         injunction provision must also be appropriate. Moreover, this injunction provision is narrowly

         tailored to achieve its purpose and is not opposed by any party. Thus, the injunction provision

         should be approved.

                                     e.        The Plan’s Retention of the Retained Causes of Action Is
                                               Appropriate

                   81.        The Retained Causes of Action are essential to the Plan and appropriate under the

         facts and circumstances of these Chapter 11 Cases. Accordingly, such Retained Causes of Action
         should be approved, and no party asserts otherwise.

                                     f.        The Plan Complies with the Additional Provision of Section
                                               1123(b)

                   82.        The Plan is consistent with section 1123(b)(5) of the Bankruptcy Code.104

         Article III of the Plan modifies or leaves unaffected, as is applicable, the rights of certain Holders

         of Claims or Interests, as permitted by section 1123(b)(5) of the Bankruptcy Code.105 Additionally,

         the other discretionary provisions in the Plan are appropriate and consistent with the applicable

         provisions of the Bankruptcy Code, thereby satisfying section 1123(b)(6) of the Bankruptcy

         Code.106 Accordingly, the Plan satisfies the requirements of Bankruptcy Code section 1123(b)(5)

         and (b)(6), and no party has asserted otherwise.


         103
               FitzGerald Decl. ¶ 28(c)(vi).
         104
               11 U.S.C. § 1123(b)(5).
         105
               FitzGerald Decl. ¶ 28(d).
         106
               Id. ¶ 28(e).
32341934.1
                                                              33
                          Case 24-10703-CTG              Doc 598         Filed 11/01/24       Page 45 of 79




                   B.       The Plan Complies with Section 1123(d) of the Bankruptcy Code

                   83.      Section 1123(d) of the Bankruptcy Code provides that “if it is proposed in a plan to

         cure a default the amount necessary to cure the default shall be determined in accordance with the

         underlying agreement and nonbankruptcy law.”107

                   84.      The Plan complies with section 1123(d) of the Bankruptcy Code. Article V of the

         Plan provides for the automatic rejection of the Debtors’ Executory Contracts and Unexpired

         Leases (other than the D&O Policies and as otherwise provided in the Plan) not previously rejected,

         assumed, or assumed and assigned during these Chapter 11 Cases under section 365 of the

         Bankruptcy Code, nor scheduled to be assumed under the Plan, the Plan Supplement, or the Sale

         Orders.        The Debtors’ determinations regarding the assumption and rejection of Executory

         Contracts and Unexpired Leases are based on and within the sound business judgment of

         the Debtors, are necessary to the implementation of the Plan, and are in the best interests of

         the Debtors, their Estates, Holders of Claims, and other parties in interest in these Chapter 11

         Cases.108
                   C.       The Plan Complies with Section 1129(a)(2) of the Bankruptcy Code

                   85.      The Debtors have satisfied section 1129(a)(2) of the Bankruptcy Code, which

         requires the plan proponent to comply with the applicable provisions of the Bankruptcy Code.109

         The legislative history to section 1129(a)(2) provides that section 1129(a)(2) is intended to

         encompass the disclosure and solicitation requirements set forth in section 1125 and the plan

         acceptance requirements set forth in section 1126 of the Bankruptcy Code.110 As set forth below,

         the Debtors have complied with these provisions, including sections 1125 and 1126 of the

         107
               In re Integrated Res., Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992) (citations omitted).
         108
               See FitzGerald Decl. ¶ 28(b).
         109
               See 11 U.S.C. § 1129(a)(2).
         110
               See In re Lapworth, 1998 WL 767456, at *3 (DWS) (Bankr. E.D. Pa. Nov. 2, 1998) (“The legislative history of
               § 1129(a)(2) specifically identifies compliance with the disclosure requirements of § 1125 as a requirement of
               § 1129(a)(2).”); In re Aleris Int’l, Inc., 2010 WL 3492664, at *20 (Bankr. D. Del. May 13, 2010) (“[S]ection
               1129(a)(2) of the Bankruptcy Code reflects that this provision is intended to encompass the solicitation and
               disclosure requirements under sections 1125 and 1126 of the Bankruptcy Code.”); S. Rep. No. 989, 95th Cong.,
               2d Sess., at 126 (1978); H.R. Rep. No. 595, 95th Cong., 1st Sess., at 412 (1977).
32341934.1
                                                                    34
                         Case 24-10703-CTG             Doc 598        Filed 11/01/24       Page 46 of 79




         Bankruptcy Code, as well as Bankruptcy Rules 3017 and 3018, by distributing the Disclosure

         Statement and soliciting acceptances of the Plan through their Notice and Claims Agent in

         accordance with the Disclosure Statement Order.111

                            1.        The Debtors Complied with Section 1125 of the Bankruptcy Code

                   86.      Section 1125 of the Bankruptcy Code prohibits the solicitation of acceptances or

         rejections of a plan of reorganization “unless, at the time of or before such solicitation, there is

         transmitted to such holder the plan or a summary of the plan, and a written disclosure statement

         approved, after notice and a hearing, by the court as containing adequate information.”112

         Section 1125 ensures that parties in interest are fully informed regarding the debtor’s condition so

         that they may make an informed decision whether to approve or reject the plan.113
                   87.      Section 1125 is satisfied here. Before the Debtors solicited votes on the Plan, the

         Court conditionally approved the Disclosure Statement in accordance with section 1125(a)(1).114

         The Court also approved the contents of the solicitation materials provided to Holders of Claims

         entitled to vote on the Plan, the non-voting materials provided to parties not entitled to vote on the

         Plan, and the relevant dates for voting and objecting to the Plan and final approval of the Disclosure

         Statement.115 As stated in the Initial Voting Report, the Debtors, through the Notice and Claims

         Agent, complied with the content and delivery requirements of the Disclosure Statement Order,

         thereby satisfying sections 1125(a) and (b) of the Bankruptcy Code.116 The Debtors also satisfied

         section 1125(c) of the Bankruptcy Code, which provides that the same disclosure statement must

         be transmitted to each holder of a claim or interest in a particular class. Here, the Debtors caused



         111
               See FitzGerald Dec. ¶ 29.
         112
               11 U.S.C. § 1125(b).
         113
               See Momentum Mfg. Corp. v. Emp. Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d 1132, 1136
               (2d Cir. 1994) (finding that section 1125 of the Bankruptcy Code obliges a debtor to engage in full and fair
               disclosure that would enable a hypothetical reasonable investor to make an informed judgment about the plan).
         114
               See generally Disclosure Statement Order.
         115
               See generally id.
         116
               See Initial Voting Report ¶¶ 5–18.
32341934.1
                                                                 35
                           Case 24-10703-CTG         Doc 598      Filed 11/01/24   Page 47 of 79




         the Disclosure Statement to be transmitted to all parties entitled to vote on the Plan and parties

         deemed to reject the Plan.117

                     88.     Based on the foregoing, the Debtors submit that they have complied in all respects

         with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

         Statement Order, and no party has asserted otherwise.

                             2.        The Debtors Complied with Section 1126 of the Bankruptcy Code

                     89.     Section 1126 of the Bankruptcy Code provides that only holders of allowed claims

         and equity interests in impaired classes that will receive or retain property under a plan on account

         of such claims or equity interests may vote to accept or reject a plan.118 The Debtors did not solicit
         votes on the Plan from the Class 1 (Other Secured Claims), Class 2 (Other Priority Claims), and

         Class 4 (Convenience Claims) as such Classes are Unimpaired under the Plan (the “Deemed

         Accepting Classes”).119 Pursuant to section 1126(f) of the Bankruptcy Code, holders of Claims in

         the Unimpaired Classes are conclusively presumed to have accepted the Plan and, therefore, were

         not entitled to vote on the Plan. The Debtors also did not solicit votes from Class 6 (Intercompany

         Claims), Class 7 (Section 510(b) Claims), Class 8 (Interests), and Class 9 (Intercompany Interests)

         as such Classes are Impaired under the Plan and not expected to receive any recovery on account

         of their Claims or Interests (the “Deemed Rejecting Classes”).120 Pursuant to section 1126(g) of

         the Bankruptcy Code, holders of Claims and Interests in the Deemed Rejecting Classes are deemed

         to have rejected the Plan and, therefore, were not entitled to vote on the Plan.

                     90.     Accordingly, the Debtors solicited votes only from the Voting Classes, constituting

         Holders of Claims in Classes 3 and 5 because each of these Classes is Impaired and entitled to




         117
               Id.
         118
               See 11 U.S.C. § 1126.
         119
               See Plan, § III.A.
         120
               Id.
32341934.1
                                                             36
                         Case 24-10703-CTG              Doc 598         Filed 11/01/24       Page 48 of 79




         receive a distribution under the Plan.121 With respect to the Voting Classes of Claims, section

         1126(c) of the Bankruptcy Code provides that:

                            A class of claims has accepted a plan if such plan has been accepted
                            by creditors, other than any entity designated under subsection (e)
                            of [section 1126], that hold at least two-thirds in amount and more
                            than one-half in number of the allowed claims of such class held by
                            creditors, other than any entity designated under subsection (e) of
                            [section 1126], that have accepted or rejected such plan.122

                   91.      The Voting Reports, summarized in Part I above, reflects the results of the voting

         process in accordance with section 1126 of the Bankruptcy Code.123 Based on the foregoing, the

         Debtors submit that they have satisfied the requirements of section 1129(a)(2), and no party has

         asserted otherwise.

                   D.       The Plan Was Proposed in Good Faith and Therefore Complies with Section
                            1129(a)(3) of the Bankruptcy Code

                   92.      Section 1129(a)(3) of the Bankruptcy Code requires that a chapter 11 plan be

         “proposed in good faith and not by any means forbidden by law.”124 Where a plan satisfies the

         purposes of the Bankruptcy Code and has a good chance of succeeding, the good faith requirement

         of section 1129(a)(3) of the Bankruptcy Code is satisfied.125 To determine whether a plan seeks

         relief consistent with the Bankruptcy Code, courts consider the totality of the circumstances

         surrounding the development of the plan.126



         121
               See generally Initial Voting Report; Supplemental Voting Report; Plan, Art. III.
         122
               11 U.S.C. § 1126(c).
         123
               See generally Initial Voting Report, Ex. A; Supplemental Voting Report, Ex. A.
         124
               11 U.S.C. § 1129(a)(3).
         125
               E.g., PWS Holding Corp., 228 F.3d at 242 (quoting In re Abbotts Dairies of Pa., Inc., 788 F.2d 143, 150 n.5 (3d
               Cir. 1986)); Fin. Sec. Assurance Inc. v. T-H New Orleans Ltd. P’ship (In re T-H New Orleans Ltd. P’ship), 116
               F.3d 790, 802 (5th Cir. 1997) (quoting Brite v. Sun Country Dev., Inc. (In re Sun Country Dev., Inc.), 764 F.2d
               406, 408 (5th Cir. 1985)); In re Century Glove, Inc., Civ. A. Nos. 90-400 and 90-401, 1993 WL 239489, at *4
               (D. Del. Feb. 10, 1993); In re NII Holdings, Inc., 288 B.R. 356, 362 (Bankr. D. Del. 2002).
         126
               E.g., T-H New Orleans, 116 F.3d at 802 (quoting In re Sun Country Dev., Inc., 764 F.2d at 408); In re W.R. Grace
               & Co., 475 B.R. 34, 87 (D. Del. 2012); Century Glove, 1993 WL 239489, at *4.
32341934.1
                                                                   37
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24       Page 49 of 79




                   93.       The Plan was proposed with honesty, good intentions, and with the goal of

         maximizing stakeholder recoveries. Throughout these Chapter 11 Cases, the Debtors, their

         directors, and their management team have upheld their fiduciary duties to stakeholders and

         protected the interests of all constituents. The Plan facilitates transactions that will provide

         significant value to the Debtors’ stakeholders compared to the alternative of a chapter 7

         liquidation.127 Importantly, the Plan is supported by the Debtors’ key economic stakeholders.

         Accordingly, the Plan and the Debtors’ conduct satisfy section 1129(a)(3) of the Bankruptcy Code,

         and no party has asserted otherwise.

                   E.        The Plan Provides that the Payment of Debtors’ Professional Fees and
                             Expenses Are Subject to Court Order in Compliance with Section 1129(a)(4)

                   94.       Section 1129(a)(4) of the Bankruptcy Code requires that certain fees and expenses

         paid by the plan proponent, by the debtor, or by a person receiving distributions of property under

         the plan, be subject to approval by the Court as reasonable. Courts have construed this section to

         require that all payments of professional fees paid out of estate assets be subject to review and
         approval by the Court as to their reasonableness.128

                   95.       The Plan satisfies section 1129(a)(4) of the Bankruptcy Code.129 All payments

         made or to be made by the Debtors for services or for costs or expenses in connection with these

         Chapter 11 Cases prior to the Confirmation Date, including all Professional Fee Claims, have been
         approved by, or are subject to approval of, the Court.130 Article II.C.1 of the Plan provides that all

         final requests for payment of Professional Fee Claims shall be filed no later than forty-five (45)

         days after the Effective Date for determination by the Court, after notice and a hearing, in

         127
               See McCabe Decl. ¶¶ 12–16.
         128
               In re Lisanti Foods, Inc., 329 B.R. 491, 503 (D.N.J. 2005) (“Pursuant to § 1129(a)(4), a [p]lan should not be
               confirmed unless fees and expenses related to the [p]lan have been approved, or are subject to the approval, of
               the Bankruptcy Court”), aff’d, 241 F. App’x 1 (3d Cir. 2007); In re Future Energy Corp., 83 B.R. 470, 488 (Bankr.
               S.D. Ohio 1988); In re Chapel Gate Apartments, Ltd., 64 B.R. 569, 573 (Bankr. N.D. Tex. 1986) (noting that
               before a plan may be confirmed, “there must be a provision for review by the Court of any professional
               compensation”).
         129
               See FitzGerald Decl. ¶ 31.
         130
               See Plan, Art. II.
32341934.1
                                                                   38
                           Case 24-10703-CTG        Doc 598       Filed 11/01/24   Page 50 of 79




         accordance with the procedures established by the Court, except as such procedures have been

         otherwise modified by the Plan.131 Accordingly, the Plan fully complies with the requirements of

         section 1129(a)(4) of the Bankruptcy Code, and no party has asserted otherwise.

                     F.      The Plan Does Not Require Additional Disclosures Regarding Directors,
                             Officers, or Insiders and Therefore Complies with Section 1129(a)(5)

                     96.     The Bankruptcy Code requires the plan proponent to disclose the affiliation of any

         individual proposed to serve as a director or officer of the debtor or a successor to the debtor under

         the plan.132 Section 1129(a)(5)(A)(ii) further requires that the appointment or continuance of such
         officers and directors be consistent with the interests of creditors and equity security holders and

         with public policy.133

                     97.     Here, Article IV.I of the Plan provides for the dissolution of the Debtors and the

         resignation of the existing directors and officers of the Debtors.134 As such, section 1129(a)(5) of

         the Bankruptcy Code is inapplicable to the Plan.

                     98.     In addition, section 1129(a)(5)(B) also requires a plan proponent to disclose the

         identity of any “insider” (as defined by 11 U.S.C. § 101(31)) to be employed or retained by the

         reorganized debtor and the nature of any compensation for such insider.135 Here, the Plan provides

         that the Debtors shall be, subject to the terms of the Plan, deemed dissolved on the Effective

         Date.136 Moreover, the Plan Supplement provides the identity and compensation of insiders
         employed by the Plan Administrator. Accordingly, the requirements of section 1129(a)(5) of the

         Bankruptcy Code are satisfied, and no party has asserted otherwise.

                     G.      The Plan Does Not Require Governmental Regulatory Approval and
                             Therefore Complies with Section 1129(a)(6)

         131
               Id.
         132
               11 U.S.C. § 1129(a)(5)(A)(i).
         133
               Id. § 1129(a)(5)(A)(ii).
         134
               See Plan, Art. IV.I.
         135
               Id. § 1129(a)(5)(B).
         136
               Plan, Art. IV.I.
32341934.1
                                                             39
                          Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 51 of 79




                   99.       Section 1129(a)(6) of the Bankruptcy Code permits confirmation only if any

         regulatory commission that has or will have jurisdiction over a debtor after confirmation has

         approved any rate change provided for in the plan. Section 1129(a)(6) of the Bankruptcy Code is

         inapplicable to these Chapter 11 Cases, and no party has asserted otherwise.

                   H.        The Plan Is in the Best Interest of Creditors and Therefore Complies with
                             Section 1129(a)(7)

                   100.      Section 1129(a)(7) of the Bankruptcy Code, commonly known as the “best interests

         test,” provides, in relevant part:

                               With respect to each impaired class of claims or interests—
                               (A)    each holder of a claim or interest of such class—
                                      (i)     has accepted the plan; or
                                      (ii)    will receive or retain under the plan on account of such claim or
                                              interest property of a value, as of the effective date of the plan,
                                              that is not less than the amount that such holder would so receive
                                              or retain if the debtor were liquidated under chapter 7 of [the
                                              Bankruptcy Code] on such date . . . .

                   101.      The best interests test applies to individual dissenting holders of impaired claims

         and interests rather than classes, and is generally satisfied through a comparison of the estimated

         recoveries for a debtor’s stakeholders in a hypothetical chapter 7 liquidation of that debtor’s estate

         against the estimated recoveries under that debtor’s plan of reorganization.137                              As section

         1129(a)(7) of the Bankruptcy Code makes clear, the best interests test applies only to holders of

         non-accepting impaired claims or interests. Class 5 (General Unsecured Claims) has voted to

         accept the Plan. Class 3 voted to reject the Plan, and the Deemed Rejecting Classes did not vote

         on the Plan. Accordingly, to satisfy the best interests test, the Debtors must demonstrate that each




         137
               Bank of Am. Nat. Trust & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 441 n.13 (1999) (“The ‘best
               interests’ test applies to individual creditors holding impaired claims, even if the class as a whole votes to accept
               the plan.”); Century Glove, 1993 WL 239489, at *7; Adelphia Commc’ns. Corp., 368 B.R. at 251
               (stating that section 1129(a)(7) is satisfied when an impaired holder of claims would receive “no less than such
               holder would receive in a hypothetical chapter 7 liquidation”).
32341934.1
                                                                     40
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24       Page 52 of 79




         Holder of a Claim in Class 3 and the Deemed Rejecting Classes, will receive at least as much under

         the Plan as that Holder would receive in a chapter 7 liquidation.138

                   102.        The Plan satisfies section 1129(a)(7) of the Bankruptcy Code and the best interests

         test.139 As set forth in the McCabe Declaration140 the Debtors, with the assistance of their

         restructuring advisors, prepared the Liquidation Analysis [Docket No. 237, as amended in Docket

         No. 247].141 The Liquidation Analysis compares the projected range of recoveries that would

         result from the liquidation of the Debtors in a hypothetical case under chapter 7 of the Bankruptcy

         Code with the estimated distributions to Holders of Allowed Claims and Interests under the Plan.142

         The Liquidation Analysis is based on the value of the Debtors’ assets and liabilities as of a certain

         date and incorporates various estimates and assumptions, including a hypothetical conversion to a

         chapter 7 liquidation as of a certain date.143
                   103.        Based on the unaudited Liquidation Analysis, and the assumptions included therein,

         the value of any distributions if the Chapter 11 Cases were converted to cases under chapter 7 of

         the Bankruptcy Code would be no greater than the value of distributions under the Plan.144 As a

         result, Holders of Claims and Interests in all Impaired Classes will recover at least as much as a

         result of confirmation of the Plan as they would recover through a hypothetical chapter 7

         liquidation.145 Based on the recoveries set forth above, the Plan satisfies the best interests test as

         required by the Bankruptcy Code, and no party has asserted otherwise.




         138
               See In re Lason, Inc., 300 B.R. 227, 232 (Bankr. D. Del. 2003) (“Section 1129(a)(7)(A) requires a determination
               whether ‘a prompt chapter 7 liquidation would provide a better return to particular creditors or interest holders
               than a chapter 11 reorganization.’”) (internal citations omitted).
         139
               See FitzGerald Decl. ¶¶ 34–36.
         140
               See generally McCabe Decl. ¶¶ 12–16.
         141
               See id. ¶¶ 5, 12-16.
         142
               See id. ¶¶ 13–14.
         143
               See id.
         144
               See id. ¶ 16.
         145
               See id.
32341934.1
                                                                   41
                          Case 24-10703-CTG        Doc 598       Filed 11/01/24   Page 53 of 79




                   I.       The Plan Is Confirmable Notwithstanding the Requirements of Section
                            1129(a)(8) of the Bankruptcy Code

                   104.     Section 1129(a)(8) of the Bankruptcy Code requires that each class of claims or

         interests must either accept a plan or be unimpaired under a plan.146 Holders of Claims and

         Interests in the Deemed Rejecting Classes are deemed to have rejected the Plan and, thus, were

         not entitled to vote. Class 3 voted to reject the Plan. Consequently, while the Plan does not satisfy

         section 1129(a)(8) of the Bankruptcy Code with respect to the Deemed Rejecting Classes and

         Class 3, the Plan is confirmable nonetheless because it satisfies sections 1129(a)(10) and 1129(b)

         of the Bankruptcy Code, as discussed below.147

                   J.       The Plan Provides for Payment in Full of All Allowed Priority Claims in
                            Compliance with Section 1129(a)(9) of the Bankruptcy Code

                   105.     Section 1129(a)(9) of the Bankruptcy Code requires that certain priority claims be

         paid in full on the effective date of a plan and that the holders of certain other priority claims

         receive deferred cash payments. In particular, pursuant to section 1129(a)(9)(A) of the Bankruptcy

         Code, holders of claims of a kind specified in section 507(a)(2) of the Bankruptcy

         Code—administrative claims allowed under section 503(b) of the Bankruptcy Code—must receive

         on the effective date cash equal to the allowed amount of such claims.148 Section 1129(a)(9)(B)

         of the Bankruptcy Code requires that each holder of a claim of a kind specified in section 507(a)(1)

         or (4) through (7) of the Bankruptcy Code—generally wage, employee benefit, and deposit claims

         entitled to priority—must receive deferred cash payments of a value, as of the effective date of the

         plan, equal to the allowed amount of such claim (if such class has accepted the plan), or cash of a

         value equal to the allowed amount of such claim on the effective date of the plan (if such class has

         not accepted the plan).149 Finally, section 1129(a)(9)(C) of the Bankruptcy Code provides that the

         holder of a claim of a kind specified in section 507(a)(8) of the Bankruptcy Code—i.e., priority

         146
               11 U.S.C. § 1129(a)(8).
         147
               See FitzGerald Decl. ¶¶ 37, 39.
         148
               11 U.S.C. § 1129(a)(9)(A).
         149
               Id. § 1129(a)(9)(B).
32341934.1
                                                            42
                          Case 24-10703-CTG           Doc 598      Filed 11/01/24   Page 54 of 79




         tax claims—must receive cash payments over a period not to exceed five years from the petition

         date, the present value of which equals the allowed amount of the claim.150

                   106.      The Plan satisfies section 1129(a)(9) of the Bankruptcy Code.151 First, Article II.A

         of the Plan satisfies section 1129(a)(9)(A) of the Bankruptcy Code because it provides that each

         Holder of an Allowed Administrative Claim shall receive payment as follows: (1) if an

         Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date (or, if not

         then due, when such Allowed Administrative Claim becomes due or as soon as reasonably

         practicable thereafter); (2) if such Administrative Claim is not Allowed as of the Effective Date,

         thirty (30) days after the date on which an order allowing such Administrative Claim becomes a

         Final Order, or as soon as reasonably practicable thereafter; or (3) at such time and upon such

         terms as set forth in a Final Order of the Bankruptcy Court.152 Any such objections that are not
         consensually resolved may be set for hearing after notice.153 Further, the Plan and Proposed

         Confirmation Order provide for the establishment of the Disputed Claims Reserve that shall be

         used to fund Claims that may become Allowed Claims after the Effective Date, consistent with the

         terms of the Plan and Confirmation Order.154

                   107.      Second, the Plan satisfies section 1129(a)(9)(B) of the Bankruptcy Code because

         no holders of the types of Claims specified by 1129(a)(9)(B) are Impaired under the Plan and such

         Claims have been paid in the ordinary course.

                   108.      Third, Article II.D of the Plan satisfies section 1129(a)(9)(C) of the Bankruptcy

         Code because it provides that holders of Allowed Priority Tax Claims payment in full in Cash on

         the Effective Date or otherwise receive treatment consistent with the Bankruptcy Code.155 The



         150
               Id. §§ 507(a)(1)–(7), 1129(a)(9)(C).
         151
               See FitzGerald Decl. ¶ 38.
         152
               Plan, Art. II.A.
         153
               See id.
         154
               See Plan, Art. VII.H.
         155
               See Plan, Art. II.D.
32341934.1
                                                              43
                          Case 24-10703-CTG            Doc 598         Filed 11/01/24   Page 55 of 79




         Plan thus satisfies each of the requirements of section 1129(a)(9) of the Bankruptcy Code, and no

         party has asserted otherwise.

                   K.       At Least One Class of Impaired, Non-Insider Claims Accepted the Plan in
                            Compliance with Section 1129(a)(10) of the Bankruptcy Code

                   109.     Section 1129(a)(10) of the Bankruptcy Code provides that, to the extent there is an

         impaired class of claims, at least one impaired class of claims must accept the plan, “without

         including any acceptance of the plan by any insider,” as an alternative to the requirement under

         section 1129(a)(8) of the Bankruptcy Code that each class of claims or interests must either accept

         the plan or be unimpaired under the plan.156
                   110.     Class 5, an Impaired Class, voted to accept the Plan independent of any insiders’

         votes.157 Thus, the Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code,

         and no party has asserted otherwise.158

                   L.       The Plan Is Feasible in Compliance with Section 1129(a)(11) of the
                            Bankruptcy Code

                   111.     Section 1129(a)(11) of the Bankruptcy Code requires that the Court find that a plan

         is feasible as a condition precedent to confirmation. Specifically, the Court must determine that:

                            Confirmation of the plan is not likely to be followed by the
                            liquidation, or the need for further financial reorganization, of the
                            debtor or any successor to the debtor under the plan, unless such
                            liquidation or reorganization is proposed in the plan.159




         156
               11 U.S.C. § 1129(a)(10).
         157
               See Initial Voting Report, Ex. A; Supplemental Voting Report, Ex. A.
         158
               See FitzGerald Decl. ¶ 39.
         159
               11 U.S.C. § 1129(a)(11).
32341934.1
                                                                  44
                          Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 56 of 79




                   112.      To demonstrate that a plan is feasible, it is not necessary for a debtor to guarantee

         success.160 Rather, a debtor must provide only a reasonable assurance of success.161 There is a

         relatively low threshold of proof necessary to satisfy the feasibility requirement.162 The feasibility

         test set forth in section 1129(a)(11) does not require the Debtors to “prove” that the Plan will

         succeed. The Debtors need only demonstrate that the Plan has “a reasonable likelihood of success”

         or a “reasonable probability” that the provisions of the Plan may be performed.163

                   113.      The purpose of the feasibility test under section 1129(a)(11) is to “prevent

         confirmation of visionary schemes which promise creditors and equity security holders more under

         a proposed plan than the debtor can possibly attain after confirmation.”164 The mere prospect of
         financial uncertainty cannot defeat confirmation on feasibility grounds.165 Bankruptcy courts have

         found that feasibility is established where a debtor has “sufficient resources” to meet its obligations

         under a liquidating plan, including its “obligations to pay for the costs of administering and fully



         160
               Kane v. Johns-Manville Corp., 843 F.2d 636, 649 (2d Cir. 1988) (“[T]he feasibility standard is whether the plan
               offers a reasonable assurance of success. Success need not be guaranteed.”); In re Flintkote Co., 486 B.R. 99, 139
               (Bankr. D. Del. 2012); W.R. Grace & Co., 475 B.R. at 115; In re U.S. Truck Co., 47 B.R. 932, 944 (E.D. Mich.
               1985) (“‘Feasibility’ does not, nor can it, require the certainty that a reorganized company will succeed.”), aff’d
               sub nom. Teamsters Nat’l Freight Indus. Negotiating Comm. v. U.S. Truck Co. (In re U.S. Truck Co.), 800 F.2d
               581 (6th Cir. 1986).
         161
               Kane, 843 F.2d at 649; Flintkote Co., 486 B.R. at 139; W.R. Grace & Co., 475 B.R. at 115; see also Pizza of
               Haw., Inc. v. Shakey’s, Inc. (In re Pizza of Haw., Inc.), 761 F.2d 1374, 1382 (9th Cir. 1985) (citations omitted)
               (holding that “[t]he purpose of section 1129(a)(11) is to prevent confirmation of visionary schemes which promise
               creditors and equity security holders more under a proposed plan than the debtor can possibly attain after
               confirmation”); accord In re Capmark Fin. Grp. Inc., No. 09-13684 (CSS), 2011 WL 6013718, at *61 (Bankr.
               D. Del. Oct. 5, 2011) (same).
         162
               See, e.g., In re Prussia Assocs., 322 B.R. 572, 584 (Bankr. E.D. Pa. 2005) (quoting approvingly that “[t]he Code
               does not require the debtor to prove that success is inevitable, and a relatively low threshold of proof will satisfy
               § 1129(a)(11) so long as adequate evidence supports a finding of feasibility”) (internal citations omitted); In re
               Sea Garden Motel & Apartments, 195 B.R. 294, 305 (D. N.J. 1996); In re Tribune Co., 464 B.R. 126, 185 (Bankr.
               D. Del. 2011), overruled in part on other grounds, 464 B.R. 208 (Bankr. D. Del. 2011).
         163
               See United States v. Energy Res., 495 U.S. 545, 549 (1990); Kane, 843 F.2d at 649; In re Am. Cap. Equip., LLC,
               688 F.3d 145, 156 (3d Cir. 2012) (noting that section 1129(a)(11) “does not require a plan’s success to be
               guaranteed”); In re Heritage Highgate, Inc., 679 F.3d 132, 142 (3d Cir. 2012) (quoting In re TCI 2 Holdings,
               LLC, 428 B.R. at 148).
         164
               Pizza of Haw, 761 F.2d at 1382; In re Kreider, No. 05-15018 (ELF), 2006 WL 3068834, at *5 (Bankr. E.D. Pa.
               Sept. 27, 2006).
         165
               See U.S. Truck, 47 B.R. at 944.
32341934.1
                                                                     45
                          Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 57 of 79




         consummating the Plan and closing the Chapter 11 Cases.”166 Other courts have said that, to

         demonstrate that a liquidating plan is feasible, a plan proponent need only show that “the successful

         performance of [the plan’s] terms is not dependent or contingent upon any future, uncertain

         event.”167

                   114.      Here, the Plan is feasible.168 The Plan satisfies the feasibility requirements of

         section 1129(a)(11) of the Bankruptcy Code by providing for a clear path to emergence from these

         Chapter 11 Cases and the ability of the Debtors to satisfy their obligations under the Plan. The

         Debtors project that all Allowed priority and Allowed Administrative Claims under the Plan will

         be satisfied as outlined in the Plan and Confirmation Order. As explained in the FitzGerald

         Declaration, the Plan provides the financial wherewithal necessary to implement the Plan and

         offers reasonable assurance that the Plan is workable and has a reasonable likelihood of success.169
         The Debtors will continue this process following the Effective Date, under the guidance of the

         Litigation Trustee (if any) and the Plan Administrator.

                   115.      Moreover, the value of the Debtors’ Estate under the Plan includes, among other

         things, the Debtors’ Cash on hand as of the Effective Date and all other Plan Assets.170 The

         Debtors project that the distributable value of the Estate will be sufficient to satisfy all Allowed

         Priority Tax Claims, Allowed Administrative Claims, DIP Claims, Statutory Fees, and provide a

         recovery to the Allowed Claims in Classes 3 and 5, consistent with the Plan and the Proposed

         Confirmation Order. Accordingly, the Plan satisfies the feasibility standard of section 1129(a)(11)

         of the Bankruptcy Code, and no party has asserted otherwise.




         166
               In re Finlay Enters., Inc., No. 09-14873 JMP, 2010 WL 6580628, at *7 (Bankr. S.D.N.Y. June 29, 2010).
         167
               In re Heritage Org., L.L.C., 375 B.R. 230, 311 (Bankr. N.D. Tex. Aug. 31, 2007) (holding that the creation of a
               creditor trust with res consisting of estate cash and the proceeds of any future successful litigation in addition to
               a fixed trust governance mechanism qualified as feasible).
         168
               See FitzGerald Decl. ¶¶ 40–41.
         169
               See id.
         170
               See generally Plan, Art. IV.B.
32341934.1
                                                                     46
                           Case 24-10703-CTG                 Doc 598    Filed 11/01/24   Page 58 of 79




                    M.       All Statutory Fees Have or Will Be Paid in Compliance with Section
                             1129(a)(12)

                    116.     Section 1129(a)(12) of the Bankruptcy Code requires the payment of “[a]ll fees

         payable under section 1930 of title 28 [of the United States Code], as determined by the court at

         the hearing on confirmation of the plan.”171 Section 507(a)(2) of the Bankruptcy Code provides

         that “any fees and charges assessed against the estate under [section 1930 of] chapter 123 of title

         28” are afforded priority as administrative expenses.172

                    117.     The Plan satisfies section 1129(a)(12) of the Bankruptcy Code because

         Article II.E of the Plan provides that all fees due and payable pursuant to section 1930 of title 28

         of the United States Code, shall be paid by the Debtors on the Effective Date.173 After the Effective

         Date, any and all Statutory Fees shall be paid to the U.S. Trustee when due and payable, and the

         Debtors, the Plan Administrator, and the Litigation Trustee (if any) shall remain obligated to pay

         the U.S. Trustee Statutory Fees until the earliest of the Debtors’ case being closed, dismissed, or

         converted to case under chapter 7 of the Bankruptcy Code. Accordingly the Plan satisfies section

         1129(a)(12), and no party has asserted otherwise.

                    N.       The Debtors Have No Retiree Benefit Obligations (Section 1129(a)(13))

                    118.     Section 1129(a)(13) of the Bankruptcy Code requires that all retiree benefits

         continue post-confirmation at any levels established in accordance with section 1114 of the

         Bankruptcy Code. The Debtors do not have any obligation to pay retiree benefits (as defined in
         section 1114 of the Bankruptcy Code). Therefore, section 1129(a)(13) of the Bankruptcy Code is

         inapplicable to these Chapter 11 Cases or the Plan, and no party has asserted otherwise.174

                    O.       Sections 1129(a)(14), (a)(15) and (a)(16) Do Not Apply to the Plan

                    119.     Section 1129(a)(14) of the Bankruptcy Code relates to the payment of domestic

         support obligations. Since the Debtors are not subject to any domestic support obligations, the

         171
                11 U.S.C. § 1129(a)(12).
         172
                11 U.S.C. § 507(a)(2).
         173
                See FitzGerald Decl. ¶ 42; Plan Art. II.E.
         174
               See FitzGerald Decl. ¶ 43
32341934.1
                                                                   47
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24       Page 59 of 79




         requirements of section 1129(a)(14) of the Bankruptcy Code do not apply.175 Likewise, section

         1129(a)(15) of the Bankruptcy Code applies only in cases in which the debtor is an “individual”

         as defined in the Bankruptcy Code. Because the Debtors are not an “individual,” the requirements

         of section 1129(a)(15) of the Bankruptcy Code do not apply.176 Finally, the Debtors are a

         moneyed, business, or commercial corporation and therefore section 1129(a)(16) of the

         Bankruptcy Code, which provides that property transfers by a corporation or trust that is not a

         moneyed, business, or commercial corporation or trust be made in accordance with any applicable

         provisions of nonbankruptcy law, is not applicable to these Chapter 11 Cases.177

                   P.       The Plan Satisfies the “Cram Down” Requirements of Section 1129(b) of the
                            Bankruptcy Code

                   120.     Section 1129(b)(1) of the Bankruptcy Code provides that, if all applicable

         requirements of section 1129(a) of the Bankruptcy Code are met other than section 1129(a)(8) of

         the Bankruptcy Code, a plan may be confirmed so long as the requirements set forth in section

         1129(b) of the Bankruptcy Code are satisfied.178 To confirm a plan that has not been accepted by
         all impaired classes (thereby failing to satisfy section 1129(a)(8) of the Bankruptcy Code), the plan

         proponent must show that the plan does not “discriminate unfairly” and is “fair and equitable” with

         respect to the non-accepting impaired classes.179




         175
               See id.
         176
               See id.
         177
               See id.
         178
               11 U.S.C. § 1129(b)(1).
         179
               John Hancock, 987 F.2d at 157 n.5; In re Ambanc La Mesa L.P., 115 F.3d 650, 653 (9th Cir. 1997) (“the [p]lan
               satisfies the ‘cramdown’ alternative . . . found in 11 U.S.C. § 1129(b), which requires that the [p]lan ‘does not
               discriminate unfairly’ against and ‘is fair and equitable’ towards each impaired class that has not accepted the
               [p]lan.”).
32341934.1
                                                                   48
                          Case 24-10703-CTG               Doc 598          Filed 11/01/24        Page 60 of 79




                             1.        The Plan is Fair and Equitable and Thus Satisfies Section 1129(b)(2)(B)
                                       of the Bankruptcy Code

                   121.      A plan is “fair and equitable” with respect to an impaired class of claims or interests

         that rejects a plan (or is deemed to reject a plan) if it follows the “absolute priority” rule.180 This

         requires that an impaired rejecting class of claims or interests either be paid in full or that a class

         junior to the impaired accepting class not receive any distribution under a plan on account of its

         junior claim or interest.

                   122.      The Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code.181

         Notwithstanding the fact that Class 3 and the Deemed Rejecting Classes have not accepted the

         Plan, the Plan may be confirmed pursuant to section 1129(b)(1) of the Bankruptcy Code.

                   123.      First, all of the requirements of section 1129(a) of the Bankruptcy Code other than

         section 1129(a)(8) have been met.

                   124.      Second, the Plan is fair and equitable with respect to Class 3 and the Deemed

         Rejecting Classes. The Plan has been proposed in good faith, is reasonable and meets the

         requirements that no Holder of any Claim or Interest that is junior to each such Class will receive

         or retain any property under the Plan on account of such junior Claim or Interest, and no Holder

         of a Claim or Interest in a Class senior to such Classes is receiving more than payment in full on

         account of its Claim or Interest. Accordingly, the Plan is fair and equitable towards all Holders of

         Claims and Interests in Class 3 and the Deemed Rejecting Classes.182 As a result, the Plan satisfies

         the fair and equitable standard of section 1129(b)(2)(B) of the Bankruptcy Code, and no party has

         asserted otherwise.




         180
               Bank of Am., 526 U.S. at 441–42 (“As to a dissenting class of impaired unsecured creditors, such a plan may be
               found to be ‘fair and equitable’ only if the allowed value of the claim is to be paid in full, § 1129(b)(2)(B)(i), or,
               in the alternative, if ‘the holder of any claim or interest that is junior to the claims of such [impaired unsecured]
               class will not receive or retain under the plan on account of such junior claim or interest any property,’§
               1129(b)(2)(B)(ii). That latter condition is the core of what is known as the ‘absolute priority rule.’”).
         181
               See FitzGerald Decl. ¶ 44.
         182
               See id. at ¶¶ 44, 47.
32341934.1
                                                                      49
                          Case 24-10703-CTG               Doc 598         Filed 11/01/24        Page 61 of 79




                            2.        The Plan Does Not Unfairly Discriminate with Respect to the Impaired
                                      Classes that Have Not Voted to Accept the Plan in Accordance with
                                      Section 1129(b)(1) of the Bankruptcy Code

                   125.     Although the Bankruptcy Code does not provide a standard for determining when

         “unfair discrimination” exists, courts typically examine the facts and circumstances of the

         particular case to make the determination.183 In general, courts have held that a plan unfairly

         discriminates in violation of section 1129(b) of the Bankruptcy Code only if it provides materially

         different treatment for creditors and interest holders with similar legal rights without compelling

         justifications for doing so.184 A threshold inquiry to assessing whether a proposed plan of

         reorganization unfairly discriminates against a dissenting class is whether the dissenting class is

         equally situated to a class allegedly receiving more favorable treatment.

                   126.     Here, the Plan does not discriminate unfairly with respect to Class 3 and the

         Deemed Rejecting Classes because similarly situated Claim and Interest Holders will receive

         substantially similar treatment on account of their Claims or Interests, as applicable, in such

         class.185 Claims in Class 3 and the Deemed Rejecting Classes are not similarly situated to any

         other Classes, given their distinctly different legal character from all other Claims and Interests.

         The Plan’s treatment of Class 3 and the Deemed Rejecting Classes is proper because no similarly

         situated class will receive more favorable treatment. The remaining Classes set forth in the Plan

         183
               In re 203 N. LaSalle St. Ltd. P’ship., 190 B.R. 567, 585 (Bankr. N.D. Ill. 1995), rev’d on other grounds, Bank of
               Am., 526 U.S. 434 (1999) (noting “the lack of any clear standard for determining the fairness of a discrimination
               in the treatment of classes under a Chapter 11 plan” and that “the limits of fairness in this context have not been
               established.”); In re Aztec Co., 107 B.R. 585, 589–91 (Bankr. M.D. Tenn. 1989) (“Courts interpreting language
               elsewhere in the Code, similar in words and function to § 1129(b)(1), have recognized the need to consider the
               facts and circumstances of each case to give meaning to the proscription against unfair discrimination.”); In re
               Freymiller Trucking, Inc., 190 B.R. 913, 916 (Bankr. W.D. Okla. 1996) (holding that a determination of unfair
               discrimination requires a court to “consider all aspects of the case and the totality of all the circumstances”).
         184
               See Coram, 315 B.R. at 349 (citing cases and noting that separate classification and treatment of claims is
               acceptable if the separate classification is justified because such claims are essential to a reorganized debtor’s
               ongoing business); In re Lernout & Hauspie Speech Prods., N.V., 301 B.R. 651, 661 (Bankr. D. Del. 2003)
               (permitting different treatment of two classes of similarly situated creditors upon a determination that the debtors
               showed a legitimate basis for such discrimination); Ambanc La Mesa, 115 F.3d at 656–57 (same); Aztec Co., 107
               B.R. at 589–91 (stating that plan which preserved assets for insiders at the expense of other creditors unfairly
               discriminated); In re Johns-Manville Corp., 68 B.R. 618, 636 (Bankr. S.D.N.Y. 1986) (stating that interests of
               objecting class were not similar or comparable to those of any other class and thus there was no unfair
               discrimination).
         185
               See FitzGerald Decl. ¶¶ 45–47.
32341934.1
                                                                     50
                            Case 24-10703-CTG       Doc 598       Filed 11/01/24   Page 62 of 79




         have either voted to accept the Plan or are deemed to have accepted the Plan, rending section

         1129(b) of the Bankruptcy Code inapplicable to them.186 Therefore, the Plan may be confirmed

         despite the fact that not all Impaired Classes have voted to accept the Plan, and no party has

         asserted otherwise.

                     Q.      The Debtors Complied with Sections 1129(d) and (e) of the Bankruptcy Code

                     127.    Section 1129(d) of the Bankruptcy Code provides that “the court may not confirm

         a plan if the principal purpose of the plan is the avoidance of taxes or the avoidance of the

         application of section 5 of the Securities Act of 1933.”187 The purpose of the Plan is not to avoid

         taxes or the application of section 5 of the Securities Act of 1933. Moreover, no governmental

         unit or any other party has requested that the Court decline to confirm the Plan on such grounds.

         Accordingly, the Plan satisfies the requirements of section 1129(d) of the Bankruptcy Code.188
                     128.    Lastly, section 1129(e) of the Bankruptcy Code is inapplicable because the Chapter

         11 Cases are not a “small business case.”189 Thus, the Plan satisfies the Bankruptcy Code’s

         mandatory confirmation requirements, and no party has asserted otherwise.

                     R.      Modifications to the Plan

                     129.    Section 1127(a) of the Bankruptcy Code provides that a plan proponent may modify

         its plan at any time before confirmation as long as such modified plan meets the requirements of

         sections 1122 and 1123 of the Bankruptcy Code.190 Further, when the proponent of a plan files

         the plan with modifications with the court, the plan as modified becomes the plan.191 Bankruptcy

         Rule 3019 provides that modifications after a plan has been accepted will be deemed accepted by

         all creditors and equity security holders who have previously accepted the plan if the court finds

         that the proposed modifications do not adversely change the treatment of the claim of any creditor

         186
               See id.
         187
               See 11 U.S.C. § 1129(d).
         188
               See FitzGerald Decl. ¶ 48.
         189
               See 11 U.S.C. § 1129(e).
         190
               11 U.S.C. § 1127(a).
         191
               Id.
32341934.1
                                                             51
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24       Page 63 of 79




         or the interest of any equity security holder.192 Interpreting Bankruptcy Rule 3019, courts

         consistently have held that a proposed modification to a previously accepted plan will be deemed

         accepted where the proposed modification is not material or does not adversely affect the way

         creditors and stakeholders are treated.193

                   130.     Pursuant to section 1127 of the Bankruptcy Code, the modifications to the Plan

         included in the Fourth Amended Joint Chapter 11 Plan of Liquidation for Seaplane Debtor 1, Inc.

         (f/k/a Icon Aircraft, Inc.) and its Debtor Affiliates, filed on October 11, 2024, and any additional

         modifications to the Plan described or set forth in the Proposed Confirmation Order or in any Plan

         filed prior to the entry of the Proposed Confirmation Order (collectively, the “Plan Modifications”)
         constitute technical or clarifying changes, changes with respect to particular Claims by agreement

         with Holders of such Claims, or modifications that do not otherwise materially and adversely affect

         or change the treatment of any other Claim or Interest under the Plan. These Plan Modifications

         are consistent with the disclosures previously made pursuant to the Disclosure Statement and

         Solicitation Materials (as defined in the Disclosure Statement Order) served pursuant to the

         Disclosure Statement Order, and notice of these Plan Modifications was adequate and appropriate

         under the facts and circumstances of these Chapter 11 Cases. None of the modifications adversely

         affect the treatment of any party-in-interest without their consent, and the additional changes to

         the Plan include, among other things, including a non-voting Convenience Claims Class (Class 4)

         and establishing a Litigation Trust.194



         192
               Bankruptcy Rule 3019.
         193
               See, e.g., In re Federal–Mogul Global Inc., 2007 Bankr. LEXIS 3940, *113 (Bankr. D. Del. 2007) (additional
               disclosure under section 1125 is not required where plan “modifications do not materially and adversely affect or
               change the treatment of any Claim against or Equity Interest in any Debtor”); Beal Bank, S.S.B. v. Jack’s Marine,
               Inc. (In re Beal Bank, S.S.B.), 201 B.R. 376, 380 n. 4 (E.D. Pa. 1996) (further disclosure and solicitation not
               required under section 1127(b) and (c) where modifications to the plan were immaterial); In re Global Safety
               Textiles Holdings LLC, No. 09-12234 (KG), 2009 WL 6825278, at *4 (Bankr. D. Del. Nov. 30, 2009) (finding
               that nonmaterial modifications to plan do not require additional disclosure or resolicitation); In re Burns & Roe
               Enters., Inc., No. 08-4191 (GEB), 2009 WL 438694, at *23 (D. N.J. Feb. 23, 2009) (confirming plan as modified
               without additional solicitation or disclosure because modifications did “not adversely affect creditors”).
         194
               See FitzGerald Decl. ¶ 50.
32341934.1
                                                                   52
                            Case 24-10703-CTG            Doc 598        Filed 11/01/24       Page 64 of 79




                     131.    In accordance with Bankruptcy Rule 3019, the Plan Modifications do not require

         additional disclosure under section 1125 of the Bankruptcy Code or the re-solicitation of votes

         under section 1126 of the Bankruptcy Code, and they do not require that Holders of Claims or

         Interests be afforded an opportunity to change previously cast acceptances or rejections of the Plan.

         Accordingly, the Plan, as modified, is properly before this Court and all votes cast with respect to

         the Plan prior to such modification shall be binding and shall apply with respect to the Plan.

                     S.      Good Cause Exists to Waive the Stay of the Proposed Confirmation Order

                     132.    Bankruptcy Rule 3020(e) provides that “[a]n order confirming a plan is stayed until

         the expiration of 14 days after the entry of the order, unless the court orders otherwise.”195
         Bankruptcy Rules 6004(h) and 6006(d) provide similar stays to orders authorizing the use, sale or

         lease of property (other than cash collateral) and orders authorizing a debtor to assign an executory

         contract or unexpired lease under section 365(f) of the Bankruptcy Code. Each rule also permits

         modification of the imposed stay upon court order.

                     133.    The Debtors submit that good cause exists for waiving and eliminating any stay of

         the Confirmation Order pursuant to Bankruptcy Rules 3020, 6004, and 6006 so that the

         Confirmation Order will be effective immediately upon its entry.196 As noted above, these

         Chapter 11 Cases and the related transactions have been negotiated and implemented in good faith

         and with a high degree of transparency and public dissemination of information.197 Additionally,

         each day the Debtors remain in chapter 11, it incurs significant administrative and professional

         costs that directly reduce the amount of distributable value for creditors.198



         195
               Bankruptcy Rule 3020(e).
         196
               See, e.g., In re Source Home Entm’t, LLC, No. 14-11553 (KG) (Bankr. D. Del, Feb. 20, 2015) (waiving stay of
               confirmation order and causing it to be effective and enforceable immediately upon its entry by the court); In re
               GSE Envtl., Inc., No. 13-11126 (MFW) (Bankr. D. Del. July 25, 2014) (same); In re Physiotherapy Holdings,
               Inc., No. 13-12965 (KG) (Bankr. D. Del. Dec. 23, 2013) (same); In re Gatehouse Media, Inc., No. 13-12503
               (MFW) (Bankr. D. Del. Nov. 6, 2013) (same); In re Dex One Corp., No. 13-10533 (KG) (Bankr. D. Del. Apr. 29,
               2013) (same); In re Geokinetics Inc., No. 13-10472 (KJC) (Bankr. D. Del. Apr. 25, 2013) (same).
         197
               See FitzGerald Decl. ¶ 52.
         198
               Id.
32341934.1
                                                                   53
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24        Page 65 of 79




                   134.     Based on the foregoing, the Debtors request a waiver of any stay imposed by the

         Bankruptcy Rules so that the Confirmation Order may be effective immediately upon its entry.

                                      The Objections to the Plan Should Be Overruled

                   135.     The deadline to file objections to the Plan was July 10, 2024, at 4:00 p.m.

         (prevailing Eastern Time), (together with extensions of certain parties, the “Plan Objection

         Deadline”).199 As of the Plan Objection Deadline (as extended for certain parties), the Debtors

         received four (4) Objections to confirmation of the Plan. Except as noted below, the Debtors do

         not believe they will be able to resolve the remaining Objections and instead asks the Court to

         overrule such Objections for the reasons set forth below.

                   A.       The U.S. Trustee’s Objection Should Be Overruled.

                   136.     The U.S. Trustee objects to the Third-Party Release and injunction provisions

         contained in Article IX of the Plan, as well as certain other matters. Specifically, among other

         things, the U.S. Trustee argues that: (a) the Plan’s release provisions are non-consensual third-

         party releases and therefore impermissible; (b) the Plan’s injunction provision is unauthorized; and

         (c) the Plan grants the liquidating a discharge in violation of the Code. As set forth more fully

         below, the Plan’s release and injunction provisions comply with applicable Third Circuit law, are

         reasonable, and should be approved. Further, the Plan does not grant a discharge to the Debtors.

                            1. The Third-Party Releases Are Appropriate and Lawful.

                   137.     The Plan provides for the Third-Party Releases.200 Courts in the Third Circuit

         routinely approve release provisions if they are consensual and appropriately tailored.201 The

         Third-Party Releases are both consensual and appropriately tailored.


         199
               The deadline for the Office of the United States Trustee for the U.S. Trustee and PDSTI to object to the Plan and
               final approval of the Disclosure Statement was October 28, 2024.
         200
               Plan Art. IX.B.
         201
               See, e.g., In re Indianapolis Downs, 486 B.R. at 304–05 (approving third-party release that applied to unimpaired
               holders of claims presumed to accept the plan as consensual); U.S. Bank Nat’l Ass’n v. Wilmington Trust Co. (In
               re Spansion, Inc.), 426 B.R. at 144 (same); In re Wash. Mut., 442 B.R. at 352 (observing that consensual third-
               party releases are permissible); In re Zenith Elecs. Corp., 241 B.R. at 105, 111 (approving non-debtor releases
               for creditors that voted in favor of the plan).
32341934.1
                                                                   54
                            Case 24-10703-CTG          Doc 598         Filed 11/01/24   Page 66 of 79




                     138.    The U.S. Trustee argues that the Third-Party Release “are contrary to United States

         Supreme Court precedent and applicable state law”202 because the Plan provides for (a) non-

         consensual third-party releases from Holders of Claims or Interests who vote to accept or reject

         the Plan and who do not check an opt-out box on a ballot, (b) non-consensual third-party releases

         from holders of non-voting Claims deemed to accept the Plan that do not file an objection to the

         release, (c) non-consensual third-party releases from Holders of non-voting administrative and

         priority claims that do not file an objection to the release, and (d) non-consensual third-party

         releases from Affiliates and Related Parties of the Releasing Parties.203

                     139.    Consensual third-party releases have long been permitted in the Third Circuit, and

         in this Court, which Purdue did not impact.204 Importantly, the Supreme Court in Purdue
         specifically held that “[n]othing in what we have said should be construed to call into question

         consensual third-party releases offered in connection with a bankruptcy reorganization plan . . .

         .”205 This Court need not, and should not, deviate from its prior rulings and broaden the scope of

         the Supreme Court’s holding.

                     140.    The U.S. Trustee contends that the Plan provides for a Third-Party Release “on

         those who vote to accept or reject the Plan but do not opt out. But voting for or against a plan

         without checking an opt-out box does not constitute the affirmative consent necessary to reflect

         acceptance of an offer to enter a contract to release claims against non-debtors.”206 Further, the

         U.S. Trustee argues that “merely voting for a plan without checking an opt-out box does not

         constitute the affirmative consent necessary to reflect acceptance of an offer to enter a contract to

         release claims against non-debtors.”207 The U.S. Trustee’s contention that the Third-Party Release



         202
               UST Obj. ¶ 1.
         203
               Id. at ¶¶ 1, 23–70.
         204
               See id. (“Consensual releases, on the other hand, are commonplace.”)
         205
               144 S. Ct. at 2087-88.
         206
               UST Obj. ¶ 19.
         207
               Id.
32341934.1
                                                                  55
                            Case 24-10703-CTG            Doc 598         Filed 11/01/24        Page 67 of 79




         is nonconsensual based on state law contradicts the precedent in this Court.208 Opt-outs for

         creditors who have been provided notice about such opt-outs and affirmatively vote on a plan have

         long been used in the bankruptcy context. Just recently, this Court has held, post-Purdue Pharma,

         that creditors who “were clearly and conspicuously informed that voting on the plan (whether the

         creditor voted to accept or reject it) would constitute a release unless the creditor opted out”

         sufficiently demonstrated affirmative consent to a third-party release.209

                     141.    One determining factor when evaluating the propriety of such opt-outs is whether

         parties in interest were provided adequate notice of the opt-out.210 Here, the Third-Party Releases

         provide affected parties due process and a meaningful opportunity to opt out.

                     142.    Holders of Claims in Classes 3 and 5 (i.e., the Voting Classes) were provided

         detailed notice about the Plan, the deadline to object to the Plan confirmation, the voting deadline,

         and the opportunity to opt out of the Third-Party Release. The Disclosure Statement included a

         detailed description about the Third-Party Release and the opt-out. The Solicitation Packages (as

         defined in the Disclosure Statement Order) were sent to Holders of Claims on or about June 6,

         2024.211 The Solicitation Packages provided Holders of Claims in Classes 3 and 5 with a ballot
         (a “Ballot”) that contained an election to opt out of the Third-Party Release. Each Ballot contained

         bold and conspicuous language informing the Holder of the opt-out.

                     143.    The Debtors also caused the Third-Party Release language to be published in The

         New York Times (national edition) and the Sacramento Bee on June 10, 2024, and June 11, 2024,

         respectively.212 The Supplemental Voting Report shows the votes of the Holders in the Voting



         208
               Smallhold, No. 24-10267, at 6.
         209
               Id.
         210
               See id. at 33 (noting there must be “conspicuous notice of the opt-out mechanism”); In re Arsenal Intermediate
               Holdings, LLC, No. 23-10097 (CTG), 2023 WL 2655592, at *7 (Bankr. D. Del. Mar. 27, 2023) (noting that the
               opt outs resulted in consensual third party releases because “each affected party received notice and had an
               opportunity to be heard”).
         211
               See Affidavit of Service [Docket No. 269].
         212
               See Affidavit of Publication of the Notice of (I) Conditional Approval of Disclosure Statement and (II) the Hearing
               to Consider (A) Final Approval of the Disclosure Statement as Containing Adequate Information,
32341934.1
                                                                    56
                            Case 24-10703-CTG             Doc 598         Filed 11/01/24        Page 68 of 79




         Classes and which Holders deemed to accept the Plan opted out of the Third-Party Release,

         demonstrating that parties in interest had sufficient notice of the Third-Party Release and were able

         to consent or not.

                    144.     The U.S. Trustee argues that the Voting Classes who voted to accept or reject the

         Plan but did not opt out of the Third-Party Release did not affirmatively consent to the Third-Party

         Release, and “silence” may not operate as acceptance of the Third-Party Release.213 Yet this

         contention is against precedent in this Court and other districts.214 “[R]egardless of how . . .

         creditors voted on the Plan, the vote is an affirmative step, and coupled with conspicuous notice

         of the opt-out mechanism, suffices as consent to the third-party releases under general contract

         principles.” As noted above, the Ballots contained a conspicuous notice of the opt-out. Thus,

         those Holders that voted in favor of the plan but chose to not opt out of the Third-Party Release,

         of which they were sufficiently informed, were not “silent.” They have taken an affirmative

         step.”215 These Holders have demonstrated affirmative consent sufficient to be bound by the
         Third-Party Release.216 Likewise, those Holders who voted against the Plan and elected not to opt

         out of the Third-Party Release also had sufficient notice that voting against the Plan would show

         agreement to the Third-Party Release if they did not opt-out on a Ballot. Their votes evidence

         both that the creditors were on notice of the releases and that they were “actively engaged.”217 It


               (B) Confirmation of the Joint Chapter 11 Plan of Liquidation for ICON Aircraft, Inc. and its Debtor Affiliates,
               and (C) Related Voting and Objection Deadlines [Docket No. 275].
         213
               UST Obj. ¶¶ 48, 51.
         214
               See, e.g., Smallhold, No. 24-10267, at 33 (holding that creditors who voted, after receiving instruction that votes
               would operate to grant a release barring an opt out, are deemed to have given the release); In re Fisker Inc., No.
               24-11390 (TMH) (Bankr. D. Del. Octo. 16, 2024) [Docket No. 722] (confirming a plan including “all holders of
               Claims who are sent a Ballot or Non-Voting Opt-Out Form and do not timely elect to opt-out of the releases
               provided by the Plan in accordance with the Solicitation Procedures”); In re BowFlex Inc., No. 24-12364 (ABA)
               (Bankr. D.N.J. Aug. 19, 2024) [Docket No. 614] (confirming a plan where “all Holders of Claims or Interests that
               vote to accept this Plan,” and “all Holders of Claims or Interests that vote to reject this Plan or are deemed to
               reject this Plan and who do not affirmatively opt out of the releases provided by this Plan” were Releasing Parties).
         215
               Smallhold, No. 24-10267, at 33.
         216
               Id. (holding that “under ordinary contract principles,” creditors who voted in favor of a plan and elected to not
               opt out, after being informed of the releases, have taken affirmative steps to demonstrate consent).
         217
               Id. at 34.
32341934.1
                                                                     57
                          Case 24-10703-CTG             Doc 598         Filed 11/01/24       Page 69 of 79




         is not implausible, as the U.S. Trustee argues,218 for a party to vote to reject the Plan and fail to

         opt out of the Third-Party Release.

                   145.     Further, the Notice of Non-Voting Status Packages provided those Holders of

         Claims deemed to accept the Plan (i.e., Classes 1, 2, and 4) with an opt-out release form to opt-out

         of the Third-Party Release under the Plan (the “Opt-Out Form”). Each Ballot and Opt-Out Form

         contained bold and conspicuous language informing the Holder of the opt-out. Thus, these Holders

         of Claims were adequately informed that the Plan would release their claims against third parties.

         Purdue Pharma did not address whether “creditors whose claims are satisfied in full under a plan

         may be subject to a release.”219 However, the Third-Party Release is still appropriate and lawful
         for the Deemed Accepting Classes. As discussed above, the Debtors are paying these Holders of

         Claims in full. These Holders should therefore not be entitled to recover against a non-debtor for

         the exact same injury, and inclusion of the Deemed Accepting Classes as Releasing Parties is

         appropriate. Further, courts in this and other districts have approved similar releases.220

                   146.     The U.S. Trustee further argues that a non-consensual Third-Party Release will be

         imposed on holders of administrative claims and priority tax claims, and “[t]he scope of the release

         of their direct claims against non-debtors is far broader than the claims upon which they will be

         paid.”221 As discussed above, Holders of Claims deemed to have accepted the Plan that have not

         filed an objection to the release are appropriately included as Releasing Parties.

         218
               UST Obj. ¶ 56.
         219
               Smallhold, No. 24-10267, at 6.
         220
               See, e.g., In re Fisker, No. 24-11390 (TMH) [Docket No. 722] (confirming a plan including “all holders of Claims
               who are sent a Ballot or Non-Voting Opt-Out Form and do not timely elect to opt-out of the releases provided by
               the Plan in accordance with the Solicitation Procedures”); In re NanoString Technologies, Inc., No. 24-10160
               (CTG) (Bankr. D. Del. June 18, 2024) [Docket No. 659] (confirming a plan including as “Releasing Parties” “all
               Holders of Claims deemed hereunder to have accepted the Plan (i.e., Holders of Claims in Unimpaired Classes of
               Claims) that have not Filed an objection to the release in Section 11.11(b) of the Plan prior to the deadline to
               object to Confirmation of the Plan”); In re Tricida, Inc., No. 23-10024 (JTD) (Bankr. D. Del. May, 23, 2023)
               [Docket No. 515] (including as a “Releasing Party” “all Holders of Claims deemed hereunder to have accepted
               the Plan that have not filed an objection to the release contained in Article IX herein prior to the Voting
               Deadline”); In re BowFlex, No. 24-12364 (ABA) [Docket No. 614] (including as a “Releasing Party” “all Holders
               of Claims or Interests that are deemed to accept this Plan and who do not affirmatively opt out of the releases
               provided in this Plan”).
         221
               UST Obj. ¶ 65.
32341934.1
                                                                   58
                          Case 24-10703-CTG              Doc 598         Filed 11/01/24       Page 70 of 79




                   147.     Further, the Debtors’ inclusion of Affiliates and Related Parties in “Releasing

         Parties” is likewise appropriate. Affiliates and Related Parties are only considered to release

         Claims or Causes of Action that they could bring on behalf of or in a derivative capacity by or

         through the Entity they are related to.222 The inclusion of such parties as Releasing Parties is

         consistent with precedent in this Court and other districts.223 Affiliates and Related Parties are

         also included as “Released Parties.”224 As such, as consideration for giving a release as Releasing

         Parties, Affiliates and Related Parties are also getting a release as Released Parties. Likewise, all

         parties in interest were provided notice of these Chapter 11 cases, the Disclosure Statement, the

         Plan, and the Third-Party Release, satisfying due process.

                   148.     Because Purdue has no effect on the Debtors’ Third-Party Release, the Court

         should follow its long-standing precedent of approving such releases and the use of opt-outs to

         obtain consent.

                            2. The Injunction Provision is Appropriate and Integral to the Plan.

                   149.     The U.S. Trustee argues that “there is no Code provision that authorizes chapter 11

         plans or confirmation orders to include injunctions to enforce them.”225 The U.S. Trustee ignores

         that the injunction provision in Article IX.D of the Plan (the “Injunction Provision”) contains

         standard language found in other Third Circuit precedent cases.226

                   150.     The Injunction Provision is necessary to effectuate the Debtors’ releases and

         exculpation provisions. As detailed above, the Injunction Provision is a key provision of the Plan

         222
               Plan, Art. I.A.104.
         223
               See In re Fisker, No. 24-11390 (TMH) [Docket No. 722] (including as related parties as a “Releasing Party”); In
               re Tricida, Inc., No. 23-10024 (JTD) [Docket No. 515] (confirming the Debtor’s plan, which includes Affiliates
               and Related Parties, solely to the extent such parties “may assert Claims or Causes of Action on behalf of or in a
               derivative capacity by or through” an entity); In re BowFlex, No. 24-12364 (ABA) [Docket No. 614] (confirming
               a plan where Related Parties were Released Parties “solely to the extent such Related Party may assert Claims or
               Causes of Action on behalf of or in a derivative capacity by or through an Entity”).
         224
               Plan, Art. I.A.103.
         225
               UST Obj. ¶ 71.
         226
               In re Fisker, No. 24-11390 (TMH) [Docket No. 722] (confirming a plan including an injunction provision); In re
               NanoString, No. 24-10160 (CTG) [Docket No. 659] (same); In re Joann Inc., No. 24-10418 (CTG) (Bankr. D.
               Del. Apr. 25, 2024) [Docket No. 303] (same); In re BowFlex, No. 24-12364 (ABA) [Docket No. 614] (same).
32341934.1
                                                                    59
                          Case 24-10703-CTG             Doc 598         Filed 11/01/24       Page 71 of 79




         and implements critical terms of the Plan (i.e., the release and exculpation provisions). Despite

         the U.S. Trustee’s contention that there is no “irreparable injury,” the Debtors’ release and

         exculpation provisions would be rendered useless without the Injunction Provision.

                            3. The Debtors Will Not Receive a Discharge.

                   151.     The Objection claims that the Plan grants the Debtors a discharge because they are

         included in the definition of “Released Party” and the Debtors will receive the released included

         in Article IX.B.227 The Objection further claims that the Injunction Provision in Article IX.D is

         inappropriate because it operates as a discharge injunction in violation of section 1141(d)(3) of the

         Bankruptcy Code.228

                   152.     The Debtors make clear in the current iteration of the Plan, however, that they are

         not entitled to a discharge of obligations.229 Further, the language of the “Released Party”

         definition and Injunction Provision is similar to other chapter 11 liquidating cases that have been

         approved by bankruptcy courts in this Circuit.230

                   B.       PDSTI’s Objection Should Be Overruled.

                   153.     PDSTI objects to both the 9019 Motion and the Debtors’ Plan. Specifically, among

         other things, PDSTI argues that (a) the Settlement is not in the estates’ best interest under

         section 363 of the Bankruptcy Code or Bankruptcy Rule 9019 and (b) PDSTI’s proposal is superior

         to advance all creditors’ and the estates’ interests. Further, PDSTI alleges that the Plan violates

         sections 1129(a)(1), 1121(a), and 1123(a)(4). As set forth more fully below, the Settlement is in

         the estates’ best interests, PDSTI’s proposal was not the superior option, and the Plan’s provisions

         comply with the Bankruptcy Code.


         227
               UST Obj. ¶ 75.
         228
               Id.; 11 U.S.C. § 1141(d)(3)(A) (“The confirmation of a plan does not discharge a debtor if—the plan provides for
               the liquidation of all or substantially all of the property of the estate”).
         229
               See Plan, Art. IX.E (“Because the Debtors are liquidating, they are not entitled to a discharge of obligations
               pursuant to section 1141 of the Bankruptcy Code with regard to any Holders of Claims or Interests.”).
         230
               See In re Casa Systems, Inc., No. 24-10695 (KBO) (Bankr. D. Del. June 6, 2024) [Docket No. 421] (confirming
               the debtors’ plan); In re Tricida, No. 23-10024 (JTD) [Docket No. 515] (same).
32341934.1
                                                                   60
                          Case 24-10703-CTG       Doc 598        Filed 11/01/24    Page 72 of 79




                           1. The Debtors’ Settlement with the Derivative Litigation Plaintiffs is in the
                              Best Interests of Creditors and the Estates.

                   154.    The Debtors have established that there was a sound business reason pursuant to

         section 363 to sell the Derivative Litigation Claims rather than treat them the same as other

         Retained Causes of Action. The sale of the Derivative Litigation Claims to the Derivative

         Litigation Plaintiffs pursuant to a private assignment under section 363 (the “Derivative Claim

         Assignment”) monetizes the Derivative Litigation Claims for the benefit of the estates without the

         need to engage in litigation with the Derivative Litigation Defendants, in accordance with Section

         363(b) of the Bankruptcy Code. The PDSTI Objection also alleges that the Debtors failed to take

         into consideration PDSTI’s interests as the largest creditor.231 PDSTI’s claims are all insider

         claims or based on their interests in the Debtors and are subject to subordination to General

         Unsecured Claims. Further, as discussed in detail below, the Derivative Litigation Plaintiffs’ offer

         was the highest and best offer.

                   155.    Further, the purchase price for the Derivative Litigation Claims is fair and

         reasonable. The Derivative Claims Assignment will result in the satisfaction or assumption of

         substantially all non-insider General Unsecured Claims. The Debtors will receive $2.5 million in

         cash, which will satisfy the substantial majority in number of general unsecured claims. The

         Derivative Litigation Plaintiffs will be assuming millions in unsecured claims. The claims were

         also marketed as part of the Debtors’ sale process, although ultimately no actionable bids were
         received.

                   156.    The Debtors have also met their burden under Bankruptcy Rule 9019. In Myers v.

         Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996), the United States Court of Appeals for the

         Third Circuit set forth a four-factor balancing test under which bankruptcy courts are to analyze

         proposed settlements. The factors the Court must consider are: “(1) the probability of success in

         litigation; (2) the likely difficulties in collection; (3) the complexity of the litigation involved, and



         231
               PDSTI Obj. ¶ 21.
32341934.1
                                                            61
                              Case 24-10703-CTG       Doc 598       Filed 11/01/24   Page 73 of 79




         the expense, inconvenience and delay necessarily attending it; and (4) the paramount interest of

         the creditors.”232

                    157.       As already highlighted in the 9019 Motion, the Martin factors have been met. If

         the Parties had failed to reach a consensual resolution, the Debtors might have been forced to

         litigate with the Derivative Litigation Plaintiffs with respect to the Standing Motion, Disclosure

         Statement, and Plan. The Settlement allows the Debtors to proceed without the uncertainty of

         litigation regarding the Disputed Issues and, if Derivative Claim Assignment path is pursued, the

         Derivative Litigation Claims.

                    158.       Likewise, absent the Settlement, resolving the Disputed Issues between the Parties

         would involve costly and time consuming litigation, which would not only increase the

         administrative expense incurred by the Debtors’ estates, but would also put confirmation and

         distributions to creditors at risk. The Settlement provides finality and certainty to all creditors in

         the Debtors’ bankruptcy case, conserves estate resources, and facilitates an efficient timeline to

         confirmation.

                    159.       Finally, the Settlement resolves all issues between the Debtors and the Derivative

         Litigation Plaintiffs regarding the Derivative Litigation Claims, Plan, and Disclosure Statement.

         The Derivative Claim Assignment would result in the payment of $2.5 million in cash to the estates

         to fund the Convenience Claims Class and wind down the estates. Thus, PDSTI is incorrect that

         the Martin factors have not been met.233

                    160.       PDSTI claims its proposal was superior to the Derivative Litigation Plaintiffs’

         proposal.234 However, PDSTI’s proposal was inferior for the following reasons.

                    161.       First, the cash consideration offered by PDSTI was not greater than the

         consideration offered by the Derivative Litigation Plaintiffs. PDSTI offered $3.0 million, which

         was equal to the $2.5 million cash consideration from the Derivative Litigation Plaintiffs and the

         232
               Martin, 91 F.3d at 393.
         233
               PDSTI Obj. ¶¶ 22-25.
         234
               Id. at ¶ 27.
32341934.1
                                                               62
                        Case 24-10703-CTG        Doc 598       Filed 11/01/24   Page 74 of 79




         $500,000 break up fee. Indeed, if the Debtors accepted PDSTI’s proposal, confirmation of the

         Plan would necessarily be delayed by at least a month to account for the additional notice required

         and the continuation of litigation with the Derivative Litigation Plaintiffs. This delay would result

         in an estimated cost of delay plus additional litigation costs of approximately $1.5 million, leaving

         approximately $1.0 million for distribution to creditors (as opposed to the Derivative Litigation

         Plaintiffs’ $2.5 million).

                 162.    Second, even if PDSTI were to offer $1.5 million to account for the cost of delay

         and additional litigation, the Debtors would require this amount upfront to ensure an ability to get

         to the extended confirmation date. Otherwise, the Debtors would not have the ability to finance

         the delay or attendant litigation.

                 163.    Third, under the Derivative Litigation Plaintiffs’ proposal, the Debtors keep claims

         against Kirk Hawkins, which recoveries will benefit the estates. Under PDSTI’s proposal, they

         would be assigned the causes of action against Hawkins. This further reduces available recovery

         for the estate as compared to the Derivative Litigation Plaintiffs’ proposal.

                 164.    Fourth, the Debtors would require a fiduciary out in any deal with PDSTI. Absent

         this, the Debtors could not represent to the Court that they were properly fulfilling their fiduciary

         obligations.

                 165.    Finally, the foregoing assumes the Derivative Litigation Plaintiffs do not proceed

         with the purchase option, which provides approximately $8.0 million in additional consideration

         in the form of assumption of certain liabilities. As such, PDSTI is incorrect, and its proposal was

         not superior to the terms of the 9019 Motion.




32341934.1
                                                          63
                              Case 24-10703-CTG          Doc 598         Filed 11/01/24        Page 75 of 79




                               2. The Plan Complies with Sections 1129(a)(1), 1121(a), and 1123(a)(4) of the
                                  Bankruptcy Code.

                    166.       PDSTI argues that the Debtors have not complied with sections 1129(a)(1),

         1122(a), and 1123(a)(4).235 As discussed in detail above, the Debtors have indeed complied with

         all these sections of the Bankruptcy Code.

                    167.       The Debtors filed the Third Amended Plan to reflect changes pursuant to the terms

         of the Settlement, as reflected in the 9019 Motion. Despite PDSTI’s contention that the Debtors

         provided “no justification”236 for these changes, the changes included in the Third Amended Plan

         demonstrate the outcome of the Parties’ Settlement. Further, PDSTI argues that “[t]he Debtors’

         material modifications to a plan which was already solicited and voted on are improper.”237 As

         previously discussed, Bankruptcy Rule 3019 provides:


                               after a plan has been accepted and before its confirmation, the
                               proponent may file a modification of the plan. If the court finds after
                               hearing on notice to the trustee, any committee appointed under the
                               Code, and any other entity designated by the court that the proposed
                               modification does not adversely change the treatment of the claim
                               of any creditor or the interest of any equity security holder who has
                               not accepted in writing the modification, it shall be deemed accepted
                               by all creditors and equity security holders who have previously
                               accepted the plan.238

                    168.       Courts consistently have held that a proposed modification to a previously accepted

         plan will be deemed accepted where the proposed modification is not material or does not

         adversely affect the way creditors and stakeholders are treated.239 For the reasons discussed above,

         235
               Id. at ¶ 35.
         236
               Id. at ¶ 37.
         237
               Id. at ¶ 4.
         238
               Bankruptcy Rule 3019 (emphasis added).
         239
               See, e.g., In re Federal–Mogul Global Inc., 2007 Bankr. LEXIS 3940, *113 (additional disclosure under section
               1125 is not required where plan “modifications do not materially and adversely affect or change the treatment of
               any Claim against or Equity Interest in any Debtor”); Beal Bank, S.S.B. v. Jack’s Marine, Inc. (In re Beal Bank,
               S.S.B.), 201 B.R. at 380 n. 4 (further disclosure and solicitation not required under section 1127(b) and (c) where
               modifications to the plan were immaterial); In re Global Safety Textiles Holdings LLC, No. 09-12234 (KG), 2009
               WL 6825278, at *4 (finding that nonmaterial modifications to plan do not require additional disclosure or
               resolicitation); In re Burns & Roe Enters., Inc., No. 08-4191 (GEB), 2009 WL 438694, at *23 (D. N.J. Feb. 23,
32341934.1
                                                                    64
                          Case 24-10703-CTG              Doc 598        Filed 11/01/24       Page 76 of 79




         the Plan, as amended, does not adversely affect the way creditors and stakeholders are treated.

         Indeed, the inclusion of a litigation trust option is designed to preserve valuable insurance assets,

         and therefore benefits all stakeholders. In addition, PDSTI’s voting deadline was extended until

         October 28, 2024, seventeen (17) days after the changes reflected in the Third Amended Plan were

         made available. PDSTI had the opportunity to vote on the changes—and it did—which renders

         their argument that the Plan was already solicited moot.

                   169.     The Debtors’ classification of Claims and Interest is appropriate. PDSTI argues

         that the separate classification of Holders of Claims in Classes 4 and 5 is improper as Holders of

         Claims in Classes 4 and 5 will share in the Plan Assets but Holders of Claims in Class 4 will

         purportedly be paid in full.240 However, convenience classes are commonly allowed in this Court
         for administrative convenience.241

                   170.     Further, the Debtors accurately classified PDSTI’s claims, despite PDSTI’s

         contention that not all of its claims are similar.242 The Debtors did not classify Claims based on

         the Holders of such Claims. The Debtor had valid legal and factual reasons for the separate

         classification of the various Claims or Interests into the Classes set forth in the Plan. As previously

         discussed, reasons for separate classifications of Claims or Interests, including separate

         classification of unsecured claims, include: (a) where members of a class possess different legal

         rights; and (b) where there is a good business reason for separate classification.243 Here, PDSTI

               2009) (confirming plan as modified without additional solicitation or disclosure because modifications did “not
               adversely affect creditors”).
         240
               PDSTI Obj. ¶ 38.
         241
               See, e.g., In re Prime Core Techs., Inc., No. 23-11161 (JKS) (Bankr. D. Del. Dec. 21, 2023) [Docket No. 644];
               In re SL Liquidation LLC, No. 23-10207 (TMH) (Bankr. D. Del. Nov. 22, 2023) [Docket No. 713]; In re PBS
               Brand Co., LLC, No. 20-13157 (JKS) (Bankr. D. Del. Apr. 28, 20231) [Docket 552].
         242
               PDSTI Obj. ¶ 40.
         243
               See John Hancock, 987 F.2d at 158–59 (holding that, as long as each class represents a voting interest that is
               “sufficiently distinct and weighty to merit a separate voice in the decision whether the proposed reorganization
               should proceed,” the classification is proper); In re Mallinckrodt PLC, 639 B.R. at 858 (permitting the separate
               classification of unsecured noteholders where the two groups had divergent debt structuring rights); In re Jersey
               City Med. Ctr., 817 F.2d at 1061 (approving classification of general unsecured creditors into different classes:
               doctors’ indemnification claims, medical malpractice claims, employee benefit claims and trade claims); In re
               ECE Wind-down LLC, No. 22-10320 (JTD) (Dec. 21, 2022) [Docket No. 520] (approving plan with separate
               classification of general unsecured claims); In re Masten Space Systems, Inc., No. 22-10657 (BLS) (Nov. 9, 2022)
32341934.1
                                                                   65
                              Case 24-10703-CTG         Doc 598         Filed 11/01/24       Page 77 of 79




         claims related to notes (including the note that it is a successor in interest to), which is a different

         entitlement as compared to other unsecured claims. The Debtors had a right to separately classify

         PDSTI’s claims.

                    171.       There is no unfair discrimination in favor of Class 4 to the detriment of Classes 3

         and 5. PDSTI also incorrectly notes that Class 4 gets paid in full at the Effective Date, whereas

         other unsecured creditors have to wait for a recovery.244 The Plan states that Class 4 shall receive

         payment “on the latest of (i) the Effective Date, or as soon as practicably thereafter, (ii) the date

         on (A) the Derivative Claim Assignment, if any, is consummated or (B) the Plan Sponsorship

         Contribution is made, in each case as soon as reasonably practicable thereafter, and (iii) the date

         that is ten (10) business days after such Convenience Claim becomes an Allowed Claim.”245
                    172.       PDSTI argues that Class 5 did not have the opportunity to vote on the Third

         Amended Plan, despite their recovery profile changing substantially. Despite PDSTI’s claims, the

         treatment of Class 5 is improving. The $2.5 million (if provided) by the Derivative Litigation

         Plaintiffs will be sufficient to cover all potential General Unsecured Claims that elect for that

         treatment, and any remaining Class 5 Claims would receive the remainder of that amount on top

         of the funds that were already anticipated to be available prior to the Settlement.

                    173.       The Debtors’ Plan does not violate the absolute priority rule. PDSTI argues that

         the Derivative Litigation Plaintiffs will share in the proceeds of the Litigation Trust in violation of

         the absolute priority rule and will receive a release.246 Pursuant to the Plan provisions for the Plan

         Beneficiaries of the Litigation Trust, the Derivative Litigation Plaintiffs, as Holders of Interests,

         will only get recovery to the extent that allowed Noteholder Claims and General Unsecured Claims

         are paid.247 Further, the Derivative Litigation Plaintiffs should receive a release. These parties

               [Docket No. 226] (same); In re Insys Therapeutics, Inc., et al., No. 19-11292 (KG) (Bankr. D. Del. Dec. 4, 2019)
               [Docket No. 1115] (same).
         244
               PDSTI Obj. ¶ 39.
         245
               Plan, Art. III.B.4.
         246
               Id. at ¶ 42.
         247
               Plan, Art. I.A.92.
32341934.1
                                                                   66
                          Case 24-10703-CTG        Doc 598        Filed 11/01/24    Page 78 of 79




         provided substantial consideration to these Chapter 11 Cases and the resolutions set forth in the

         Proposed Confirmation Order, including, among other things: (1) potentially providing cash

         through the purchase of the Derivative Litigation Claims or sponsorship of the Plan; and (2)

         agreeing to vote for and otherwise support the Plan.

                   C.      The Debtors Are Working to Consensually Resolve the WF Objection.

                   174.    Wells Fargo filed its limited objection to preserve its rights, noting that it has been

         in discussion with the Debtors regarding agreed language to confirm that the Wells Fargo security

         interests are preserved pending satisfaction of its secured claims.248 The Debtors are working with

         Wells Fargo to resolve the objection and anticipate including revised language in a revised

         Proposed Confirmation Order.

                   D.      The Debtors Are Reviewing the SGIA Objection.

                   175.    The SGIA Objection was filed on October 31, 2024. The Debtors are reviewing

         the objection and reserve the right to respond at the Confirmation Hearing.

                                                        Conclusion
                   176.    For all of the reasons set forth herein and in the Declarations, and as will be further

         shown at the Confirmation Hearing, the Debtors respectfully request that the Court confirm the

         Plan as fully satisfying all of the applicable requirements of the Bankruptcy Code by entering the

         Proposed Confirmation Order, overruling any remaining objections, and granting such other and

         further relief as is just and proper.

                                      [Remainder of Page Intentionally Left Blank]




         248
               WF Obj. ¶ 10.
32341934.1
                                                             67
                    Case 24-10703-CTG     Doc 598    Filed 11/01/24     Page 79 of 79




         Dated: November 1, 2024
         Wilmington, Delaware

         /s/ Ashley E. Jacobs
         YOUNG CONAWAY STARGATT &                   SIDLEY AUSTIN LLP
         TAYLOR, LLP                                Samuel A. Newman (admitted pro hac vice)
         Sean M. Beach (No. 4070)                   1999 Avenue of the Stars, Floor 19
         Ashley E. Jacobs (No. 5635)                Los Angeles, California 90067
         S. Alexander Faris (No. 6278)              Telephone:    (310) 595-9500
         Jared W. Kochenash (No. 6557)              Facsimile:    (310) 595-9501
         Rodney Square                              Email:        sam.newman@sidley.com
         1000 North King Street
         Wilmington, Delaware 19801                 and
         Telephone:      (302) 571-6600
         Facsimile:      (302) 571-1253             Jeri Leigh Miller (admitted pro hac vice)
         Email:          sbeach@ycst.com            2021 McKinney Avenue, Suite 2000
                         ajacobs@ycst.com           Dallas, Texas 75201
                         afaris@ycst.com            Telephone:     (214) 981-3300
                         jkochenash@ycst.com        Facsimile:     (214) 981-3400
                                                    Email:         cpersons@sidley.com
                                                                   jeri.miller@sidley.com

                                                    and

                                                    Nathan Elner (admitted pro hac vice)
                                                    787 Seventh Avenue
                                                    New York, New York 10019
                                                    Telephone:    (212) 839-5300
                                                    Facsimile:    (212) 839-5599
                                                    Email:        nelner@sidley.com




32341934.1

         =
